   Case 4:24-cv-00667-O Document 1 Filed 07/17/24   Page 1 of 101 PageID 1




                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

GLOBAL OIL & GAS TEXAS, LLC           )
                                      )
and                                   )
GLOBAL OIL & GAS FIELDS               ) CASE NO.:
OKLAHOMA, LLC,                        )
                                      ) JUDGE _________________________
                 Plaintiffs,          )
                                      )
v.                                    )
                                      )
BERNARD TUBEILEH, an individual,      )
                                      )
                                      ) JURY TRIAL DEMANDED
SINOSTAR INVESTMENTS LLC, an          )
Oklahoma limited liability company,   )
                                      )
JAMALABOX LLC, an Oklahoma limited )
                                      )
liability company,
                                      )
                                      )
                                      )
JOHN BARNETT, an individual,
                                      )
                                      )
                                      )
DR. DETLEF MADER, an individual,
                                      )
                                      )
BLACKHORN GROUP, LLC, a Missouri )
                                      )
limited liability company,
                                      )
                                      )
                                      )
BLACKHORN USA, LLC, a Missouri
                                      )
limited liability company,
                                      )
                                      )
                                      )
WILLIAM (aka “BILLY”)
                                      )
HUDDLESTON, JR., an individual,
                                      )
                                      )
                                      )
LOUISIANA OFFSHORE
EXPLORATION, LLC, a Louisiana limited )
                                      )
liability company,
                                      )
                                      )
                                      )
    Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 2 of 101 PageID 2



BDHL, LLC, a Texas limited liability
                                  )
company,                          )
                                  )
                                  )
CA PORTFOLIO MANAGEMENT, INC., )
an Illinois corporation,          )
                                  )
                                  )
CA FUNDS GROUP, INC. N/K/A        )
MINDFUL MEALS, INC., an Illinois  )
corporation,
                                  )
and                               )
                                  )
CHRIS CHRISTENSON, an individual, )
                                  )
                                  )
                Defendants.       )
                                  )
                                  )

                                          COMPLAINT

       Now come Plaintiffs Global Oil and Gas Texas, LLC (“Global Texas”) and Global Oil and

Gas Fields Oklahoma, LLC (“Global Oklahoma”) (together the “Global U.S. Subsidiaries”),

through their counsel, and for their Complaint and Jury Demand, state:

                                        INTRODUCTION

       1.      Global Oklahoma and Global Texas, twin investment companies, were formed to

invest in the lucrative U.S. oil and gas market. Bernard Tubeileh, a German national, was appointed

to manage and oversee the Global U.S. Subsidiaries’ operations. Rather than work to benefit the

companies he managed, Tubeileh used his position to defraud Global Oklahoma and Global Texas

at every turn. He—and others—stole funds disguised as consulting fees and laundered that money

to his limited liability company, covertly reassigned the Global U.S. Subsidiaries’ oil and gas rights

to himself and others, enriched himself through fraudulent commissions and undisclosed self-

dealing transactions, and funneled money and assets to his friends along the way. His schemes,

discussed more below, went undiscovered for years.
                                                  2
    Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 3 of 101 PageID 3



       2.      Bernard Tubeileh (“Tubeileh”), supported by a cadre of co-conspirators, controlled

a quasi-criminal enterprise that, through a complex web of mail fraud, wire fraud, bribery, and

money laundering, fraudulently diverted millions of dollars and oil and gas interests from the

Global U.S. Subsidiaries to enrich himself, his family, and his co-conspirators. Tubeileh’s schemes

span the United States, involve millions of dollars and thousands of oil, gas, and mineral assets,

and implicate everyone from fraudsters and oil well operators, to corporate executives, attorneys,

and accountants. Each played a specific role in allowing Tubeileh and others to reap millions in

benefits at the expense of the Global U.S. Subsidiaries.

       3.      Through a pattern of Racketeer Influenced and Corrupt Organizations (“RICO”)

predicate acts of bank fraud, mail fraud, wire fraud, money laundering, the use of fraudulently

obtained funds, fraud related to bankruptcy proceedings, and fraud upon the United States

Citizenship and Immigration Services, Tubeileh caused millions of dollars in damages to Global

Oklahoma and Global Texas, which are sister corporate enterprises.

       4.      Tubeileh used his position within the two Global U.S. Subsidiaries, along with his

control of two domestic shell companies—Sinostar Investments LLC (“Sinostar”) (and its German

parent company, Sinostar Investments GmbH, which Tubeileh owned in full) and Jamalabox LLC

(“Jamalabox”)—to unlawfully carry out various RICO predicate acts as part of his overall RICO

conspiracy, with others known and unknown, to corruptly operate the Global U.S. Subsidiaries

primarily for the financial benefit of everyone except the Global U.S. Subsidiaries.

       5.      Starting in 2017, Tubeileh, as the Head of U.S. Operations for Global Oil & Gas

AG (“Global AG”), was the Manager of the Global U.S. Subsidiaries. In this role, Tubeileh

exercised day-to-day managerial control and served as a trusted advisor to the Global U.S.

Subsidiaries on potential oil, gas, and mineral investments in the United States.



                                                 3
    Case 4:24-cv-00667-O Document 1 Filed 07/17/24                       Page 4 of 101 PageID 4



        6.      Tubeileh decided, with others, to use his position to act as the hub of various spokes

of fraudulent and illegal schemes. The Global U.S. Subsidiaries have identified multiple

transactions corrupted by Tubeileh and his co-conspirators. The result? Nearly $100 million in

total losses from investments riddled with fraud that served only the interests of Tubeileh and his

co-conspirators.

        7.      As part of Tubeileh’s illegal schemes to enrich himself and others at the expense of

the Global U.S. Subsidiaries, Tubeileh worked hand in glove with Global AG’s CEO, Defendant

Detlef Mader (“Mader”), who assisted Tubeileh with and profited from Tubeileh’s various

fraudulent schemes.

        8.      Tubeileh corrupted Mader, and the two worked together to appoint Mader to sham

positions within the Global U.S. Subsidiaries, paid him unjustified salaries for his service in these

roles, enticed him with the prospect of special bonuses, and diverted fees to Mader to further

corrupt the Global Texas and Global Oklahoma enterprises. 1 In return, Mader removed, ignored,

and deactivated any and all corporate control mechanisms that would have otherwise hampered

Tubeileh’s various schemes.

        9.      Tubeileh, who came to the United States without any oil and gas industry contacts,

worked with William “Billy” Huddleston, Jr. (“Huddleston”)—who has previously committed

fraud—in a variety of oil and gas transactions. Tubeileh and Huddleston siphoned funds from the

Global U.S. Subsidiaries and transferred them to Huddleston directly or, at times, funneled funds

through several third-party companies so Huddleston could avoid a bankruptcy trustee and

nondischargeable debts. See In re Huddleston, No. 3:17-cv-1964-K, 2018 WL 1182902 (N.D. Tex.

Mar. 6, 2018) (affirming the bankruptcy court’s order granting Final Judgment for creditor in


1        The ongoing investigation by Global Texas, Global Oklahoma, and Global AG into Tubeileh’s misconduct
has also revealed that Mader has misappropriated Global assets for personal use.
                                                     4
    Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 5 of 101 PageID 5



adversary proceeding and noting that rather than pay creditors, Huddleston “transferred the money

… to his personal accounts” and “gambled away the money or spent it on personal items”); see

also In re Huddleston, Civ. Action No. 16-31488-sgj-7, 2017 WL 1207522, at *14 (Bankr. N.D.

Tex. Mar. 31, 2017) (finding Huddleston “perpetuated a fraudulent scheme by transferring investor

funds from [his company] to himself and spending them on personal expenses with the intent of

defrauding [creditor]”). Tubeileh and Huddleston conspired to enrich themselves and each other

through the various schemes discussed below. At the same time, Tubeileh and Huddleston, with

the help of others, facilitated Huddleston’s evading of a bankruptcy judgment and various

creditors.

        10.       Tubeileh also conspired with John Barnett (“Barnett”) to operate two companies—

Sinostar and Jamalabox—through which Tubeileh and Barnett defrauded the Global U.S.

Subsidiaries through huge sham fees and fraudulent loans. Barnett signed off on the documents

that allowed Tubeileh and Barnett to not only move fraudulently obtained funds between

Jamalabox and Sinostar, but to use the two companies to enrich themselves and further the various

schemes discussed below.

        11.       In addition, Tubeileh worked with numerous other individuals and entities across

the country to improperly profit at the expense of the Global U.S. Subsidiaries. These include

Defendants Wheat, Blackhorn USA, Blackhorn Group, and others yet unknown to the Global U.S.

Subsidiaries. Among other things, these individuals and entities prevented the Global U.S.

Subsidiaries from understanding the full scope and extent of Tubeileh’s various schemes all while

enriching themselves.

        12.       Tubeileh’s unlawful schemes, which form the basis for over 150 RICO predicate

acts, included:



                                                  5
   Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 6 of 101 PageID 6



                      a.     The Sham Advisory Fee Scheme: inserting himself, Sinostar,

              Jamalabox, and other associates as middlemen in transactions involving the Global

              U.S. Subsidiaries and third parties to self-deal and profit from the transactions at

              the Global U.S. Subsidiaries’ expense for services not rendered, see infra

              ¶¶ 54–148;

                      b.     The Self-Dealing Loan Scheme: arranging for the Global U.S.

              Subsidiaries to take out loans at exorbitant interest rates from entities controlled by

              Tubeileh (including Sinostar) without disclosing the inherent conflicts of interest

              created by these transactions.      Far worse yet, the loans to the Global U.S.

              Subsidiaries were made with funds stolen or diverted from the Global U.S.

              Subsidiaries, see infra ¶¶ 149–227;

                      c.     The Commissions Scheme: disguising commission payments to

              himself and others that were in fact paid by the Global U.S. Subsidiaries, see infra

              ¶¶ 228–248;

                      d.     The Overriding Royalty Scheme: purporting to sell fictional oil

              rights back to the Global U.S. Subsidiaries, see infra ¶¶ 249–309; and

                      e.     The Carried Working Interest Scheme: fraudulently or

              improperly assigning rights in the Global U.S. Subsidiaries’ investments to himself

              and Huddleston, among others, see infra ¶¶ 249–68, 310–26;

       13.    Through these schemes and others, Tubeileh ran the Global U.S. Subsidiaries to

personally enrich himself and others by fraudulently diverting money and oil and gas interests

from the Global U.S. Subsidiaries. As a direct result of Tubeileh’s racketeering activities, the

Global U.S. Subsidiaries lost millions of dollars every year of Tubeileh’s management,



                                                6
    Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 7 of 101 PageID 7



accumulating operating losses of over $14 million, approximately $120 million in outstanding

debt, and a negative net asset value.

       14.     Conversely, by the end of Spring 2023, Huddleston—who owes or owed a $2

million federal judgment for fraud and misappropriation of investor funds in a different case—and

his alter ego companies had reaped millions of dollars in illicit commissions and were given, by

Tubeileh, significant oil and gas interests that otherwise rightfully belonged to the Global U.S.

Subsidiaries for no reason. Others, including Wheat and Blackhorn enjoyed millions of dollars in

baseless profits; and others were granted many oil and gas rights, without consideration, that

rightfully belonged to the Global U.S. Subsidiaries.

       15.     As for Tubeileh, at the time he “resigned” from his roles with the Global U.S.

Subsidiaries—using the money misappropriated from the Global U.S. Subsidiaries and funneled

through Jamalabox and Sinostar—had purchased a million-dollar home, a 2023 Porsche SUV,

traveled extensively throughout Europe with his family, footed the bill for private tuition for his

child’s school, and held approximately 700 stolen or fraudulently acquired—in part with stolen

money—oil and gas interests on behalf of himself and Sinostar and/or Jamalabox.

       16.     Tubeileh and his cohorts have damaged the integrity and respectability of the

United States oil and gas investment industry. Their acts reinforce the concern that foreign

investors should not trust the integrity of players in the domestic oil and gas exploration market.

Punishment in this case is one way the United States oil and gas market can demonstrate to foreign

investors that fraudulent self-dealing will not be tolerated and that organized crime in the United

States is vigorously policed.




                                                7
    Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 8 of 101 PageID 8



                                            PARTIES

       17.     Global Oil & Gas Texas, LLC, is a limited liability company whose only member

is Global Oil & Gas AG, a company organized under German law. Global Texas is an oil and gas

investment company operating in the United States.

       18.     Global Oil & Gas Fields Oklahoma, LLC, is a limited liability company whose only

member is Global Oil & Gas AG, a company organized under German law. Global Oklahoma is

an oil and gas investment company operating in the United States.

       19.     Defendant Bernard Tubeileh is a German foreign national and permanent resident

of the United States who resides in Texas. Tubeileh sits at the center of multiple fraudulent

schemes. On information and belief, Tubeileh is the sole member of Sinostar Investments GmbH

(“Sinostar GmbH”).

       20.     Defendant Sinostar Investments LLC is or was a limited liability company whose

only member, on information and belief, is Sinostar GmbH, a German company, which is wholly

owned and managed by Tubeileh. Sinostar is controlled by Tubeileh through Sinostar GmbH.

Based on records filed with the Oklahoma Secretary of State’s office, Sinostar’s business address

in Oklahoma is 502 South Locust Street, Skiatook, Oklahoma 74070. Sinostar is registered to do

business in Texas, and its filings with the Texas Comptroller of Public Accounts indicate its Texas

address is 400 Southridge Lakes Parkway, Southlake, Texas 76092, which is Tubeileh’s private

residence.

       21.     Defendant Jamalabox LLC is a limited liability company whose only member(s),

on information and belief, are Tubeileh, Sinostar, and/or Sinostar GmbH. Jamalabox is an inactive

Oklahoma limited liability company formed in January 2016. Based on records filed with the

Oklahoma Secretary of State’s office, Jamalabox’s business address is 502 South Locust Street,

Skiatook, Oklahoma 74070, which is the same as Sinostar LLC’s business address.

                                                8
    Case 4:24-cv-00667-O Document 1 Filed 07/17/24                            Page 9 of 101 PageID 9



         22.      Defendant John Barnett is, on information and belief, a resident and citizen of

Oklahoma. He was also, at various times, a nominal manager of Sinostar and Jamalabox, both of

which appear to be operated out of Mr. Barnett’s home. At all relevant times, Barnett conducted

business in Texas.

         23.      Defendant Dr. Detlef Mader is a foreign national and German citizen. Mader was

the Chief Executive Officer of Global AG from 2016 until September 29, 2023. At all relevant

times, Mader conducted business with Tubeileh in the United States.

         24.      Defendant William “Billy” Huddleston, Jr. (“Huddleston”) is, on information and

belief, a citizen and resident of Louisiana.

         25.      Defendant Louisiana Offshore Exploration, LLC (“Louisiana Offshore”) 2 is a

limited liability company whose only member, on information and belief, is Huddleston. Louisiana

Offshore’s business address on file with the Louisiana Secretary of State is 12222 Merit Drive,

Suite 120, Dallas, Texas 75251. Louisiana Offshore is merely an alter ego of Huddleston.

         26.      Defendant BDHL, LLC (“BDHL”) is a Texas limited liability company whose only

member, on information and belief, is Huddleston. BDHL is merely an alter ego of Huddleston.

         27.      Defendant CA Portfolio Management, Inc. (“CA Portfolio Management”) is an

Illinois corporation headquartered in Illinois.

         28.      Defendant CA Funds Group, Inc., n/k/a Mindful Meals, Inc., (“CA Funds Group”)

is an Illinois corporation headquartered in Illinois.




2 Louisiana Offshore is also a defendant in pending litigation in the United States District Court for the Northern
District of West Virginia, based on allegations that an initial transfer of mineral interests in which Huddleston was
involved was effectuated through the forgery of a deceased woman’s signature. See M&M Land Consulting, LLC v.
Lorentz, No. 1:23-cv-54-TSK (N.D.W. Va.) (filed June 21, 2023). Global Oklahoma is also a defendant in that case.
                                                         9
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 10 of 101 PageID 10



        29.      Defendant Blackhorn Group, LLC (“Blackhorn Group”) is a Missouri limited

liability company whose only member is Logan Wheat. At all relevant times, Blackhorn Group

conducted business in Texas.

        30.      Defendant Blackhorn USA, LLC (“Blackhorn USA”) is a Missouri limited liability

company whose only member, on information and belief, is Blackhorn Group. At all relevant times

Blackhorn USA conducted business in Texas.

        31.      Defendant Chris Christenson is, on information and belief, a citizen and resident of

the State of Michigan.

                                  JURISDICTION AND VENUE

        32.      This Court has subject matter jurisdiction under Title 28, United States Code

Section 1331 because Plaintiffs’ civil RICO claims (Counts I through 8) arise under federal law

and the predicate acts discussed below affected interstate and international commerce.

        33.      This Court has supplemental jurisdiction over the state-law claims (Causes of

Action 9 through 12) under Title 28, United States Code Section 1367(a) because they are “so

related” to the federal claims that they form part of the same “Cases” and “Controversies” under

Article III.

        34.      Venue in this District and Division is proper under Title 18, United States Code

Section 1965 and Title 28, United States Code Section 1391(b)(2), as a substantial part of the

events alleged occurred in this judicial district or under Title 28, United States Code Section

1391(b)(3), because Tubeileh is subject to personal jurisdiction in this District and Division.

        35.      This Court has personal jurisdiction over Tubeileh because he is a foreign national

and permanent resident of the United States living in this District. 18 U.S.C. § 1965(a). This Court

has personal jurisdiction over all other RICO Defendants who reside in, are found in, or transacted

affairs in this District. Id.
                                                  10
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                   Page 11 of 101 PageID 11



       36.     This Court has personal jurisdiction over other RICO Defendants not found in this

District or that did not transact affairs in this District because the ends of justice require they be

brought before this Court. 18 U.S.C. §§ 1965(b), (d).

       37.     This Court also has personal jurisdiction over the non-RICO Defendants

(Blackhorn Group, LLC, Blackhorn USA, LLC and Chris Christenson) because their individual

actions satisfy both the Texas long-arm statute, Tex. Civ. Prac. & Rem. Code § 17.042(1)–(2), and

the Due Process requirements of the Fourteenth Amendment to the United States Constitution.

                                  FACTUAL ALLEGATIONS

                                         THE ENTERPRISE

       38.     The Global U.S. Subsidiaries, Global Texas and Global Oklahoma, have been

fleeced of more than $20 million because of the fraudulent and criminal schemes orchestrated by

Tubeileh and in which the following other RICO Defendants were involved: (1) Sinostar,

(2) Jamalabox, (3) Mader, (4) Barnett, (5) Huddleston and his alter-ego companies Louisiana

Offshore and BDHL, (6) CA Portfolio Management, and (7) CA Funds Group.

       39.     Global Texas is an “enterprise” as that term is defined in Title 18, United States

Code Section 1961(4).

       40.     Global Oklahoma is an “enterprise” as that term is defined in Title 18, United States

Code Section 1961(4).

       41.     Global Texas and Global Oklahoma, as sister companies, have a unity of ownership

by Global AG and were both managed by Tubeileh through the pattern of racketeering activities

detailed below. The combination of Global Texas and Global Oklahoma is also an enterprise

(“Global Enterprise”) that is “associated in fact” under Title 18, United States Code Section

1961(4).



                                                 11
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                 Page 12 of 101 PageID 12



                                  TUBEILEH CORRUPTS MADER

       42.     On April 14, 2021, Tubeileh proposed to Mader that Mader be appointed

“president” of the Global U.S. Subsidiaries, which Tubeileh framed as a promotion for Mader.

Tubeileh described the new role as one where Mader would have a more official role in improving

the structure of the Global U.S. Subsidiaries, but that the transactions in which they were engaging

would continue as they had in the past.

       43.     In exchange for this new role, which Mader understood would allow him to

continue approving Tubeileh’s investments on behalf of the Global U.S. Subsidiaries, Tubeileh

determined it would be reasonable to pay Mader $10,000 per year for each subsidiary (there were

three at the time), on top of the salary Mader earned from Global AG as its CEO.

       44.     Tubeileh’s proposal on Mader’s additional salary as president of the Global U.S.

Subsidiaries was made after Mader begged Tubeileh on numerous occasions, including between

April 10, 2021, and April 14, 2021, to pay him a bonus in exchange for Mader’s continuing to

approve the investments and assignments Tubeileh was bringing about through his various

schemes. Tubeileh saw Mader’s financial insecurity as a weakness he could exploit.

       45.     As an example of this give-and-take relationship between Tubeileh and Mader, on

May 16, 2022, Mader emailed Tubeileh and stated that, unlike other Global U.S. Subsidiaries

employees, he had not received a team bonus for closing projects and he would like to receive a

$30,000 bonus for closing deals which directly benefitted Tubeileh personally and furthered the

various schemes. (Exhibit 1, 5/16/2022 Email, Tubeileh and Mader.)

       46.     In exchange for the requested $30,000 bonus, Mader promised to continue making

what he described as “quick and courageous” decisions to enable Tubeileh to continue generating

“commissions” and paying bonuses to other Global U.S. Subsidiaries employees, as well as to

Mader, without the knowledge of the parent company, Global AG. The decisions were “quick” in

                                                12
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 13 of 101 PageID 13



that there was no due diligence, and they were “courageous” in that they were never disclosed to

the parent company in Germany, a foundation for fraud. (See Ex. 1.)

          47.   To assure Tubeileh of his continued loyalty, Mader represented to Tubeileh that in

Mader’s role as president of the Global U.S. Subsidiaries, Mader could continue to approve future

transactions to perpetuate Tubeileh’s various schemes without providing information to or

obtaining permission from Global AG’s Supervisory Board. Mader confirmed he would continue

acting on the guiding principle that the fewer people who know about something, the better. (See

Ex. 1.)

          48.   For example, in August 2022, Tubeileh and Mader agreed to withhold information

from Global AG’s controlling shareholder and the Global U.S. Subsidiaries’ main lender unless

he signed a confidentiality agreement. Tubeileh and Mader also agreed not to share information

with Global AG’s Supervisory Board for fear that it would get back to the Global U.S.

Subsidiaries’ main lender. (Exhibit 2, 8/26/2022 Email, Tubeileh and Mader.)

          49.   In addition, Tubeileh ensured other Global U.S. Subsidiary employees—including

its operations manager, Lori Land—would not provide information to the lender. To do so, in

addition to her six-figure salary, Tubeileh and Mader caused Global Texas to assign her a 1%

carried working interest as an incentive. (Exhibit 3, 8/26/2022 Assignment to Land.)

          50.   Over the course of six years, Tubeileh and Mader executed various additional

employment and consulting manager agreements related to Tubeileh’s role with the Global U.S.

Subsidiaries.

          51.   These sham agreements were misused by Tubeileh and Mader to continue to

approve investments, employment contracts, loans, and other contracts on behalf of the Global

U.S. Subsidiaries that benefitted Tubeileh and Mader personally while furthering Tubeileh’s

schemes, to the detriment and expense of the Global U.S. Subsidiaries. In several Global U.S.

                                                13
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 14 of 101 PageID 14



Subsidiaries transactions, Huddleston or his related entities were involved as well, reaping them

millions of dollars.

                         MANNER AND MEANS OF THE RICO CONSPIRACY

       52.       Beginning in 2017, the many Defendant entities and individuals participated in

countless acts of criminal wire fraud, mail fraud, bank fraud, money laundering, and fraud on the

United States Government, all for the purpose of obtaining and assigning oil and gas interests,

financing loans funded by fraud, and effectuating the transfer of money under false pretenses.

       53.       The manner and methods used by Tubeileh to manage and operate the Global

Enterprise through a pattern of racketeering activities included, but are not limited to, the Schemes

set out below.

                                THE SHAM ADVISORY FEE SCHEME

       54.       On information and belief, Tubeileh formed Sinostar GmbH, a German company,

on or about September 13, 2004; Tubeileh is the managing director and only member (or German

equivalent) of Sinostar GmbH.

       55.       On or about December 12, 2012, Tubeileh formed Sinostar Investments LLC,

which is wholly owned by Sinostar GmbH. On information and belief, Tubeileh is the managing

member of Sinostar; Barnett is or was, at various times, its nominal manager.

       56.       Sinostar’s purported legitimate business activity, on information and belief, is to

serve as a holding and investment company for Tubeileh. There is no indication that Sinostar

conducted any legitimate business.

       57.       In January 2016, on information and belief, Barnett formed Jamalabox.

Jamalabox’s purported legitimate business activity, on information and belief, consists of

importing to the United States soap manufactured by Nablus Soap, a company located in the

Middle East and run by Tubeileh’s family:
                                                 14
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                   Page 15 of 101 PageID 15




             Packaging for Nablus Soap indicating it is imported by Jamalabox LLC.

       58.     Huddleston was also involved with Jamalabox and the “marketing launch” of

Nablus Soap in the United States, discussed in more detail below.

       59.     Beginning in 2017, however, Tubeileh caused the Global U.S. Subsidiaries to pay

Jamalabox and Sinostar “advisory” or “consulting” fees under the false pretense that they were

owed for services rendered related to various oil and gas interest acquisitions. In reality, Jamalabox

offers no such services and did not provide such services to the Global U.S. Subsidiaries. It was

all a sham. The Global U.S. Subsidiaries were not involved in the purchase or sale of soap from

Palestine.

              A.      Fraudulent advisory fees for Jamalabox as part of the Post Oak
                      transactions.

       60.     In July 2017, Tubeileh arranged the purchase of a $1.2 million mineral rights

package in West Virginia and caused Global Oklahoma to pay that amount to Post Oak Royalty

Partners, LLC (“Post Oak”) via wire transfer on July 6, 2017.

       61.     Tubeileh then instructed Post Oak to pay a $100,000 advisory fee to Jamalabox,

which it did on July 7, 2017.

                                                 15
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 16 of 101 PageID 16



       62.     On information and belief, some or all of these funds were subsequently transferred

to Sinostar and/or Huddleston. There was no basis for a payment for advisory services provided

from a “Palestinian soap importing company.”

       63.     On October 10, 2017, Tubeileh caused Global Oklahoma to accept a $1.36 million

offer for oil and gas interests sold by M&M Land Consulting through Post Oak:




       64.     Tubeileh caused “Global [Oklahoma to] wire Post Oak $1.36mio” and then ensured

Post Oak divided that total amount between itself (the actual purchase price of $1.24 million) and

Jamalabox ($120,000 for an advisory fee); Huddleston facilitated this deal.

       65.     On information and belief, some or all of the $120,000 was then transferred to

Sinostar and/or Huddleston.

       66.     The purpose of Post Oak paying Jamalabox from the purported $1.36 million

“purchase price” with funds provided by Global Oklahoma was to obscure the fact that Global

Oklahoma was, in fact, paying Jamalabox.

       67.     The scheme was a fraud in that Jamalabox had done nothing to earn an advisory

fee. Once again, there was no reason for a Palestinian soap importing company to receive a

consulting fee for U.S.-based oil and gas industry transactions. The payment was disguised to

allow for an illegal payment to Jamalabox.

              B.     Other fraudulent “advisory fees” or “commissions.”

       68.     Throughout 2018 and into early 2019, Tubeileh caused the Global U.S. Subsidiaries

to pay more than $5 million in sham “advisory fees” or “commissions” to Jamalabox, Huddleston

and his alter-ego companies, and to CA Portfolio Management and CA Funds Group.

                                               16
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24              Page 17 of 101 PageID 17



       69.    On January 16, 2018, Jamalabox—via Tubeileh and signed by Barnett—sent

Global Oklahoma an $858,000 invoice for “Consulting/Advisory Services & Introduction” related

to Global Oklahoma’s purchase of a 23% interest in the Coffield Mineral Package.

       70.    Jamalabox, Tubeileh, and Barnett fraudulently represented that the invoice was for

“consulting and advisory fees”, which was a false statement when made and which was intended

to induce payment by Global Oklahoma. 18 U.S.C. § 1341; 18 U.S.C. § 1343. Jamalabox, a

Palestinian soap importing company, obviously did not provide “consulting and advisory

services.” This was both wire fraud and money laundering.




                                              17
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24            Page 18 of 101 PageID 18



       71.    On or about January 17, 2018, Tubeileh fraudulently caused Global Oklahoma to

pay Jamalabox—via check—$858,000 for so-called advisory fees:




(Exhibit 4, 1/15/2018 Email, Tubeileh and Individual #1.)



                                              18
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 19 of 101 PageID 19



       72.      Tubeileh fraudulently represented that the payment to CA Portfolio Management

was for consulting and/or advisory fees, which was a false statement when made and which was

intended to induce payment by Global Oklahoma. 18 U.S.C. § 1343.

       73.      In a document dated January 19, 2018, CA Portfolio Management—via Tubeileh—

sent Global Oklahoma a $450,000 invoice for a “Consulting Fee.”

       74.      On January 19, 2018, Sinostar recorded revenue of $841,998 via wire as an

advisory fee.

       75.      On information and belief, CA Portfolio Management transferred some or all of the

$450,000 purported consulting fee to Huddleston, BDHL, other third parties, Huddleston’s

bankruptcy attorney, or paid various debts on Huddleston’s behalf, all to avoid the Bankruptcy

Court. See In re Huddleston, Civ. Action No. 16-31488-sgj-7, 2017 WL 1207522, at *14 (Bankr.

N.D. Tex. Mar. 31, 2017).




                                               19
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24               Page 20 of 101 PageID 20



       76.     On February 9, 2018, Tubeileh instructed a Global U.S. Subsidiary employee,

Individual #1, to record that January 19, 2018 wire to Sinostar from Jamalabox as “advisory fee

income”:




(Exhibit 5, 2/9/2018 Email, Tubeileh and Individual #1.)

       77.     On March 21, 2018, Jamalabox sent Global Oklahoma, via Tubeileh, an invoice for

$43,750, which was for made-up “advis[ing]” on a Global Oklahoma transaction with Menoah

Petroleum, Inc.; Barnett signed the phony invoice on behalf of Jamalabox.

       78.     Jamalabox, Tubeileh, and Barnett fraudulently represented that the invoice was for

consulting and/or advisory fees, which was a false statement when made and which was intended

to induce payment by Global Oklahoma. 18 U.S.C. § 1343. There were, obviously, no services

provided, it was simply a fraud.

                                               20
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                 Page 21 of 101 PageID 21



       79.       On March 23, 2018, Tubeileh caused Global Oklahoma to wire Jamalabox $43,750.

       80.       On March 21, 2018, BDHL sent “Global Oil & Gas AG” an invoice for “expenses”

and “consulting services” rendered the day before, totaling $21,250. Once again, no services were

provided—it was simply a fraud.

       81.       Tubeileh and BDHL, via Huddleston, fraudulently represented that the payment to

BDHL was for consulting services, which was a false statement when made and which was

intended to induce payment by Global Oklahoma. 18 U.S.C. § 1343.

       82.       On March 23, 2018, Tubeileh caused Global Oklahoma to wire BDHL $21,250.

       83.       On March 26, 2018, Sinostar received a deposit from “JAM001” for $42,750.

       84.       On March 28, 2018, Tubeileh instructed Individual #1 to directly wire Sinostar

$23,500 for “consulting services.” (Exhibit 6, 3/28/2018 Email, Tubeileh and Individual #1.)

       85.       Tubeileh fraudulently represented that this payment was for consulting fees, which

was a false statement when made and which was intended to induce payment by Global Oklahoma.

18 U.S.C. § 1343. There were no “consulting services” provided by Sinostar—it was simply

another theft.

       86.       This outgoing transaction is reflected in Global Oklahoma’s bank account as a

“Book Transfer Credit” to Sinostar on March 29, 2018.

       87.       On March 20, 2018, BDHL sent “Global Oil & Gas AG” an invoice for

$217,000.00 for “consulting services” related to the “Coffield Acquisition.”

       88.       Tubeileh and BDHL, via Huddleston, fraudulently represented that this payment

was for consulting and/or advisory fees, which was a false statement when made and which was

intended to induce payment by Global Oklahoma. 18 U.S.C. § 1343. No “consulting services”

were provided—it was just another theft of funds.



                                                 21
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 22 of 101 PageID 22



       89.        On March 29, 2018—after instructing Individual #1 the day before to make a

transfer—Tubeileh caused Global Oklahoma to wire BDHL $217,000 related to the Coffield

project discussed below. (Exhibit 7, 3/28/2018 Email, Tubeileh and Individual #1.)

       90.        On March 29, 2018, Tubeileh caused Global Oklahoma to pay BDHL $217,000 via

wire transfer.

       91.        On March 30, 2018, Tubeileh caused Global Oklahoma to pay Jamalabox $395,000

via wire transfer related to the Coffield project discussed below.

       92.        Following on to correspondence from March 29, 2018, on March 30, 2018,

Tubeileh asked Individual #1 if all the wires had gone out; Individual #1 responded and Tubeileh

asked her for the confirmation numbers.

       93.        Tubeileh confirmed and indicated that he received a text—purportedly from

someone at Jamalabox—stating the money came in. (Exhibit 8, 3/30/2018 Email, Tubeileh and

Individual #1.)

       94.        On April 2, 2018, Sinostar received a deposit from “Jam001” for $385,000. Sinostar

had nothing to justify receiving this payment, which appears to have been solely for the purpose

of laundering the money to hide its source.

       95.        On April 2, 2018, after Tubeileh caused Global Oklahoma to wire the funds,

Jamalabox—via Tubeileh—sent Global Oklahoma a $395,000 invoice for made-up

“Consulting/Advisory Services & Introduction” related to the March 30, 2018 wire. There were

no such “consulting and advisory services.”

       96.        Jamalabox, Tubeileh, and Barnett fraudulently represented—in an invoice that

post-dated the wire—that Jamalabox provided consulting and/or advisory services and was due

fees, which was a false statement when made and which was intended to induce payment by Global

Oklahoma. 18 U.S.C. § 1343.

                                                  22
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                 Page 23 of 101 PageID 23



       97.     On April 23, 2018, Tubeileh instructed Individual #1 to wire $500,000 from Global

Oklahoma to Jamalabox for another deal related to the Coffield project, again for non-existent

advisory services. (Exhibit 9, 4/23/2018 Email, Tubeileh and Individual #1.) There were no such

“consulting and advisory services”; this too was a fraudulent wire transfer.

       98.     On April 24, 2018, Jamalabox—via Tubeileh and signed by Barnett—sent or

emailed Global Oklahoma a $500,000 invoice for purported advisory fees on another acquisition

in the Coffield project. (Exhibit 10, 4/24/2018 Invoice.)

       99.     Jamalabox, Tubeileh, and Barnett fraudulently represented that the invoice was for

consulting and/or advisory fees, which was a false statement when made and which was intended

to induce payment by Global Oklahoma. 18 U.S.C. § 1343.

       100.    On April 24, 2018, Tubeileh caused Global Oklahoma to wire Jamalabox $500,000.

Once again, there was no reason for Global Oklahoma to wire money to a Palestinian soap

company.

       101.    On April 25, 2018, Tubeileh caused Global Oklahoma to wire CA Portfolio

Management a $150,000 consulting fee on the same transaction for non-existent consulting

services. (See Ex. 9.)

       102.    Tubeileh fraudulently represented that CA Portfolio Management provided

consulting and/or advisory services and was due fees, which was a false statement when made and

which was intended to induce payment by Global Oklahoma. 18 U.S.C. § 1343.

       103.    On information and belief, CA Portfolio Management transferred some or all of the

$150,000 purported consulting fee to Huddleston, BDHL, other third parties, Huddleston’s

bankruptcy attorney, or paid various debts on Huddleston’s behalf, all in an effort to avoid the

Bankruptcy Court.



                                                23
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 24 of 101 PageID 24



       104.     The next day, on April 25, 2018, Sinostar received a $365,000 deposit from

“JAM001.”

       105.     On May 23, 2018, Tubeileh caused Global Oklahoma to purchase mineral acreage

in the Marcellus Shale for a total price of $3,498,000, part of which—$373,000—was an

“advisor[y]” and “commission” to Jamalabox.

       106.     Tubeileh fraudulently represented that Jamalabox provided consulting and/or

advisory services and was due fees, which was a false statement when made and which was

intended to induce payment by Global Oklahoma. 18 U.S.C. § 1343.

       107.     Tubeileh fraudulently instructed Individual #1 to execute the wires, including one

to Jamalabox for $373,000 and another to CA Portfolio Management for $175,000. (Exhibit 11,

5/24/2018 Email, Tubeileh and Individual #1.)

       108.     Tubeileh fraudulently represented that CA Portfolio Management provided

consulting and/or advisory services and was due fees, which was a false statement when made and

which was intended to induce payment by Global Oklahoma. 18 U.S.C. § 1343.

       109.     On June 1, 2018, Tubeileh fraudulently caused Global Oklahoma to wire $373,000

to Jamalabox.

       110.     On June 1, 2018, Tubeileh fraudulently caused Global Oklahoma to wire $175,000

to CA Portfolio Management.

       111.     On information and belief, CA Portfolio Management transferred some or all of

that $175,000 to Huddleston, BDHL, other third parties, Huddleston’s bankruptcy attorney, or paid

various debts on Huddleston’s behalf, all in an effort to avoid the Bankruptcy Court.

       112.     On June 4, 2018, Sinostar received a $365,000 deposit from “JAM001.” The

purpose of this transfer was to launder money illegally obtained.



                                                24
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 25 of 101 PageID 25



       113.    On July 31, 2018, Tubeileh fraudulently caused Global Oklahoma to wire

Jamalabox $1.1 million for “Consulting PSA PennVirginia OK Asset Acquisition, 20% share.”

       114.    Tubeileh fraudulently represented that Jamalabox provided consulting and/or

advisory services and was due fees, which was a false statement when made and which was

intended to induce payment by Global Oklahoma. 18 U.S.C. § 1343.

       115.    On July 31, 2018, Tubeileh fraudulently caused Global Oklahoma to wire CA

Funds Group $500,000 for “Consulting PennVirginia OK Assets Acquisition” for non-existent

consulting services.

       116.    Tubeileh fraudulently represented that CA Funds Group provided consulting and/or

advisory services and was due fees, which was a false statement when made and which was

intended to induce payment by Global Oklahoma. 18 U.S.C. § 1343.

       117.    On information and belief, CA Funds Group transferred some or all of that

$500,000 to Huddleston, BDHL, other third parties, Huddleston’s bankruptcy attorney, or paid

various debts on Huddleston’s behalf, all in an effort to avoid the Bankruptcy Court.

       118.    Tubeileh instructed Individual #1 that because there was not enough capital

available, Global Oklahoma should wire the rest of the funds to Jamalabox as soon as funds were

available, which Tubeileh knew would be the next day.

       119.    On August 1, 2018, Tubeileh caused Global Oklahoma to wire Jamalabox an

additional $300,319.76 as a fraudulent consulting fee. There were no such “consulting and

advisory services.”

       120.    Tubeileh thus fraudulently represented that Jamalabox provided consulting and/or

advisory services and was due fees, which was a false statement when made and which was

intended to induce payment by Global Oklahoma. 18 U.S.C. § 1343.



                                               25
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                   Page 26 of 101 PageID 26



         121.   On August 1, 2018, Sinostar received a deposit of $1,100,000, which it booked as

an “advisory fee” from “JAM001.” The apparent purpose of this transfer was to launder money

and to disguise the true source of the funds, which constitutes fraud.

         122.   On August 2, 2018, Sinostar received a deposit from “JAM001” for $260,319.79,

which it recorded as an “advisory fee,” although no advisory services were provided. The purpose

of this transfer was to launder the money and hide its source. As repeatedly stated herein, neither

Sinostar nor Jamalabox provided any services to the Global U.S. Subsidiaries—ever.

         123.   On September 12, 2018, Tubeileh approved a $500,000 wire to Jamalabox from

Global Oklahoma for “[c]onsulting” related to the Coffield investment. There were no such

“consulting and advisory services,” and this too was fraudulent.

         124.   Tubeileh fraudulently represented that Jamalabox provided consulting and/or

advisory services and was due fees, which was a false statement when made and which was

intended to induce payment by Global Oklahoma. 18 U.S.C. § 1343.

         125.   CA Funds Group was also set to receive $150,000 for “consulting” on the same

transaction.

         126.   Tubeileh fraudulently represented that CA Funds Group provided consulting and/or

advisory services and was due fees, which was a false statement when made and which was

intended to induce payment by Global Oklahoma. 18 U.S.C. § 1343.

         127.   On September 14, 2018, Tubeileh caused Global Oklahoma to wire CA Funds

Group $150,000.

         128.   On information and belief, CA Funds Group transferred some or all of this

$150,000 “consulting” fee to Huddleston, BDHL, other third parties, Huddleston’s bankruptcy

attorney, or paid various debts on Huddleston’s behalf, all in an effort to avoid the Bankruptcy

Court.

                                                26
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                 Page 27 of 101 PageID 27



       129.    On September 20, 2018, Tubeileh caused Global Oklahoma to wire Jamalabox

$500,000 for consulting fees. There were no such “consulting” services.

       130.    Tubeileh fraudulently represented that Jamalabox provided consulting and/or

advisory services and was due fees, which was a false statement when made and which was

intended to induce payment by Global Oklahoma. 18 U.S.C. § 1343.

       131.    On September 21, 2018, Sinostar received a $490,000 deposit from “JAM001” that

it booked as an “advisory fee.” The apparent purpose of this transfer was to launder the money.

       132.    On January 30, 2019, Tubeileh and Mader approved “delayed and last advisory /

consulting” fees to Jamalabox related to the Coffield investment. There were no such “consulting”

services.

       133.    Tubeileh fraudulently represented that Jamalabox provided consulting and/or

advisory services and was due fees, which was a false statement when made and which was

intended to induce payment by Global Oklahoma. 18 U.S.C. § 1343.

       134.    On January 30, 2019, Tubeileh caused Global Oklahoma to wire Jamalabox

$350,000 for “1st Part Commission Hardeman County 3Rd Well.”

       135.    On January 31, 2019, Tubeileh caused Global Oklahoma to wire Jamalabox

$150,000 for “2ND Part Commission Hardeman County 3Rd Well.”

       136.    On information and belief, some or all of these two wires was subsequently wired

or otherwise transferred to Sinostar.

       137.    Later, when Lori Land—who replaced Individual #1—questioned the payments to

Jamalabox, Tubeileh claimed that it was “John[ Barnett]’s consulting company” and it had

“brought a few deals” to the Global U.S. Subsidiaries in 2018. Not only was this untrue, but it was

Tubeileh’s attempt to cover up the sham transactions.



                                                27
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                    Page 28 of 101 PageID 28



       138.      The transfers to CA Portfolio Management and CA Funds Group, totaling more

than $1.4 million in fraudulent, non-existent commission or advisory fees, are reflected by the

table below:

       Date               From               To            Amount                  Transferred to
                                                                            Huddleston, someone on his
                                        CA Portfolio
     1/17/2018       Global Oklahoma                      $450,000.00     behalf, or an entity controlled by
                                          Mgmt.
                                                                                         him
                                                                            Huddleston, someone on his
                                        CA Portfolio
     4/25/2018       Global Oklahoma                      $150,000.00     behalf, or an entity controlled by
                                          Mgmt.
                                                                                         him
                                                                            Huddleston, someone on his
                                        CA Portfolio
     6/1/2018        Global Oklahoma                      $175,000.00     behalf, or an entity controlled by
                                        Management
                                                                                         him
                                                                            Huddleston, someone on his
                                          CA Funds
     7/31/2018       Global Oklahoma                      $500,000.00     behalf, or an entity controlled by
                                           Group
                                                                                         him
                                                                            Huddleston, someone on his
                                          CA Funds
     9/14/2018       Global Oklahoma                      $150,000.00     behalf, or an entity controlled by
                                           Group
                                                                                         him
                                                         $1,425,000.00

       139.      In addition, Huddleston or his companies directly received more than $200,000 in

fraudulent advisory or consulting fees, reflected in the table below:

                       Date             From                To            Amount
                                        Global
                    3/23/2018                             BDHL           $21,250.00
                                       Oklahoma
                                        Global
                    3/29/2018                             BDHL           $217,000.00
                                       Oklahoma
                                                                         $238,250.00

       140.      In sum, directly or indirectly, Huddleston, his alter-ego companies, and third parties

to whom Huddleston owed debts received more than $1.6 million from the Global U.S.

Subsidiaries, laundered through CA Portfolio Management and CA Funds Group, to obscure the

true source of the funds and to avoid detection by the United States Bankruptcy Court.




                                                  28
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                 Page 29 of 101 PageID 29



       141.     As for Jamalabox, in total, Tubeileh caused Global Oklahoma to pay the Palestinian

soap distributor—and ultimately Sinostar—over $4.5 million in fraudulent oil and gas “advisory”

or “consulting” fees over the course of roughly fifteen months, as reflected by the table below:

     Date            From           To            Amount         Transferred to       Received
                                                                 Jamalabox, then
                    Global
    7/7/2017                      Post Oak      $100,000.00        Sinostar or       $100,000.00
                   Oklahoma
                                                                   Huddleston
                                                                 Jamalabox, then
                    Global
   10/10/2017                     Post Oak       $120,000.00       Sinostar or       $120,000.00
                   Oklahoma
                                                                   Huddleston
                    Global
   1/17/2018                     Jamalabox       $858,000.00         Sinostar        $841,998.00
                   Oklahoma
                    Global
   3/23/2018                     Jamalabox       $43,750.00          Sinostar        $42,750.00
                   Oklahoma
                    Global
   3/28/2018                      Sinostar       $23,500.00            N/A           $23,500.00
                   Oklahoma
                    Global
   3/30/2018                     Jamalabox       $395,000.00         Sinostar        $385,000.00
                   Oklahoma
                    Global
   4/24/2018                     Jamalabox       $500,000.00         Sinostar        $365,000.00
                   Oklahoma
                    Global
    6/1/2018                     Jamalabox       $373,000.00         Sinostar        $365,000.00
                   Oklahoma
                    Global
   7/31/2019                     Jamalabox      $1,100,000.00        Sinostar       $1,100,000.00
                   Oklahoma
                    Global
    8/1/2018                     Jamalabox       $300,319.76         Sinostar        $260,319.79
                   Oklahoma
                    Global
   9/20/2018                     Jamalabox       $500,000.00         Sinostar        $490,000.00
                   Oklahoma
                                                                    Sinostar, on
                    Global
   1/30/2019                     Jamalabox      $350,000.00       information and    $350,000.00
                   Oklahoma
                                                                       belief
                                                                    Sinostar, on
                    Global
   1/30/2019                     Jamalabox       $150,000.00      information and    $150,000.00
                   Oklahoma
                                                                       belief
     Totals                                     $4,813,569.76                       $4,593,567.79

       142.     The funds Jamalabox obtained from these transactions were fraudulently obtained

through mail and/or wire fraud, as discussed above. 18 U.S.C. § 1341; 18 U.S.C. § 1343.

       143.     The subsequent transfers by Jamalabox to Sinostar constitute: (1) monetary

transactions using criminally derived property knowingly derived from unlawful activity in

violation of 18 U.S.C. § 1957(a); (2) transactions done with the intent to promote or carry on

specified unlawful activity in violation of 18 U.S.C. § 1956(a)(1)(A)(i); and (3) are financial

transactions done with knowledge that the proceeds are from unlawful activity and with the intent
                                                29
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                 Page 30 of 101 PageID 30



that each transaction was designed, in whole or in part, to conceal the nature, source, ownership or

control of the proceeds of the specified unlawful activity, in violation of 18 U.S.C. §

1956(a)(1)(B)(i).

       144.    The funds CA Portfolio Management and CA Funds Group obtained from these

transactions were fraudulently obtained through mail and/or wire fraud, as discussed above. 18

U.S.C. § 1341; 18 U.S.C. § 1343.

       145.    The subsequent transfers by CA Portfolio Management and CA Funds to

Huddleston and his alter-ego companies, and/or others on behalf of Huddleston constitute:

(1) monetary transactions using criminally derived property knowingly derived from unlawful

activity in violation of 18 U.S.C. § 1957(a); (2) transactions done with the intent to promote or

carry on specified unlawful activity in violation of 18 U.S.C. § 1956(a)(1)(A)(i); (3) are financial

transactions done with knowledge that the proceeds are from unlawful activity and with the intent

that each transaction was designed, in whole or in part, to conceal the nature, source, ownership or

control of the proceeds of the specified unlawful activity, in violation of 18 U.S.C.

§ 1956(a)(1)(B)(i); and (4) fraud on the United States Bankruptcy Court, in violation of 18 U.S.C.

§ 152(1).

       146.    The funds BDHL directly obtained from these transactions were fraudulently

obtained through mail and/or wire fraud, as discussed above. 18 U.S.C. § 1341; 18 U.S.C. § 1343.

       147.    The funds Sinostar directly obtained from these transactions were fraudulently

obtained through mail and/or wire fraud, as discussed above. 18 U.S.C. § 1341; 18 U.S.C. § 1343.

       148.    The entire Sham Advisory Fee Scheme, because of Tubeileh’s fraudulent

conduct—papering over his activities with sham invoices and various material misrepresentations

and omissions—was concealed from the Global U.S. Subsidiaries. The truth and extent of this

fraud was not discovered until after Tubeileh’s resignation in May 2023.

                                                30
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 31 of 101 PageID 31



                                THE SELF-DEALING LOANS SCHEME

          149.   At the beginning of 2018, Sinostar had just over $40,000 in assets and less than

$100 in its savings account.

          150.   By the beginning of 2019, because of the sham transfers from Jamalabox—

facilitated by Tubeileh and Barnett and to the detriment of the Global U.S. Subsidiaries—Sinostar

had, on information and belief, more than $4 million in its accounts. See supra ¶¶ 54–148.

          151.   Incredibly, beginning in 2018 and continuing to 2023, Tubeileh used the

fraudulently obtained funds from the Global U.S. Subsidiaries to cause the Global U.S.

Subsidiaries to take loans from Sinostar with the Global U.S. Subsidiaries’ own money. It is as if

Tubeileh, as a bank president, robbed a bank and then loaned the money back to the same bank,

but at an exorbitant rate of interest—which, as the bank president, he agreed to pay on the bank’s

behalf.

          152.   Sinostar used the loans—most of which were signed by Tubeileh on behalf of the

Global U.S. Subsidiaries and by Barnett on behalf of Sinostar—to not only accrue interest at

commercially unreasonable rates, but also to misappropriate the Global U.S. Subsidiaries’ interests

in various oil and gas investment projects and avoid oversight from or detection by Global AG.

          A.     Sinostar Fraudulent Loan 1 and the Related Oil and Gas Investments.

          153.   The next part shows incredible arrogance and criminal intent. Using the money

Jamalabox improperly obtained from the Global U.S. Subsidiaries and then transferred to Sinostar,

in February 2018 Tubeileh caused Global Texas to agree to a loan from Sinostar.

          154.   Effective February 22, 2018, Tubeileh caused Global Texas to agree to the first loan

(“Sinostar Loan 1”). Sinostar Loan 1 was between Sinostar and Global Texas for a principal

amount of $1,500,000.00 and accrued interest at 2% per month. Tubeileh signed on behalf of

Global Texas; Barnett signed on behalf of Sinostar.
                                                  31
   Case 4:24-cv-00667-O Document 1 Filed 07/17/24                             Page 32 of 101 PageID 32



         155.     Sinostar Loan 1 was to be a “revolving line of credit” between Global Texas and

Sinostar for “drilling and completion and re-drilling activities of oil and gas wells in Hardeman

County, Texas and Jackson County, Oklahoma.”

         156.     Apart from monetary interest on the principal, Tubeileh caused Global Texas to

agree to give Sinostar a 2.5% carried working interest in “each new well/wellbore in the Drilling

Area as of the Effective Date, staring with the Hanner Hatcher 1H [well].”

         157.     The money Jamalabox obtained was procured by fraud. 18 U.S.C. § 1343. The

money was laundered to Sinostar. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B). And the loan from

Sinostar to Global Oklahoma was with funds derived from specified unlawful activity. 18 U.S.C.

§ 1957(a).

                  1.       Tubeileh causes the Global U.S. Subsidiaries to invest in Hardeman
                           County under Sinostar Loan 1.

         158.     With Sinostar Loan 1in effect, Tubeileh fraudulently caused Global Oklahoma to

invest in several wells in Hardeman County, Texas. With this, Tubeileh then could fraudulently

assign various oil and gas interests to various individuals and companies, including himself and

Jamalabox.

         159.     On April 9, 2018, Global Oklahoma and Dome Holdings, LLC entered into a

Participation Agreement for the Gilliam No. 1-H well.

         160.     On April 9, 2018, Tubeileh fraudulently caused Global Oklahoma to assign

Jamalabox a 1% overriding royalty interest (“ORRI”) 3 in Gilliam No. 1-H well and related leases.

Tubeileh signed on behalf of Global Oklahoma, Barnett signed on behalf of Jamalabox, and




3 An overriding royalty interest is a non-cost-bearing and non-operating interest carved out of a working interest that
entitles the holder to a royalty from applicable production. An ORRI can be carved out of the mineral estate or out of
an oil and gas lease. If it is the latter, the ORRI terminates when the underlying lease ends.
                                                         32
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24              Page 33 of 101 PageID 33



Huddleston, Boris Starokozhev—a purported geologist and friend of Tubeileh and Huddleston—

and others signed as witnesses:




              Signature Page of Transfer (Exhibit 12, 4/9/2018 ORRI Assignment)

       161.    On April 11, 2018, Barnett caused Jamalabox to transfer that same interest in

Gilliam No. 1-H to Sinostar. John Barnett signed on behalf of both Sinostar and Jamalabox:




              Signature Page of Transfer (Exhibit 13, 4/11/2018 ORRI Assignment)

       162.    On August 18, 2018, for no legitimate reason, Tubeileh caused Global Oklahoma

to assign Tubeileh, personally, a 1% ORRI in Gilliam No. 1-H and any future Hardeman Project

well. Tubeileh signed on behalf of himself and Global Oklahoma; Huddleston signed as a witness:




                                              33
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 34 of 101 PageID 34




              B.     Sinostar Fraudulent Loan 2 and the Related Oil and Gas Investments.

       163.    Using the money Sinostar improperly obtained from Jamalabox, in October 2018

Tubeileh caused Global Oklahoma to agree to take yet another money laundering loan from

Sinostar.

       164.    Effective October 29, 2018, Tubeileh fraudulently caused Global Texas to agree to

a second illicit loan (“Sinostar Loan 2”). Sinostar Loan 2, from Sinostar to Global Oklahoma, had

a principal amount of $2,000,000 and accrued interest at 2% per month. Tubeileh signed on behalf

of Global Oklahoma; Barnett signed on behalf of Sinostar.

       165.    Sinostar Loan 2 was a “revolving line of credit between” Global Oklahoma and

Sinostar that Global Oklahoma could use for acquiring oil and gas leases in Hardeman County,

Texas and Jackson County, Oklahoma.

       166.    Sinostar Loan 2 also provided that, in addition to interest on principal, if Global

Oklahoma “requests [Sinostar]” to “pay directly for certain Leases,” those leases became

Sinostar’s “property” and Global Oklahoma had the right to “acquire” them, “in exchange for

[Sinostar’s] total expenses … plus outstanding interest” on Sinostar Loan 2.

       167.    The money Jamalabox obtained was procured by fraud. 18 U.S.C. § 1343. The

money was laundered to Sinostar. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B). And the loan from

Sinostar to Global Oklahoma was with funds derived from specified unlawful activity. 18 U.S.C.

§ 1957(a).
                                               34
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 35 of 101 PageID 35



                  1.     Tubeileh furthers the Global U.S. Subsidiaries’ investment in
                         Hardeman County under Sinostar Fraudulent Loan 2.

           168.   On November 13, 2018, Tubeileh, on behalf of Global Oklahoma, informed Barnett

that Global Oklahoma would draw $2,000,000 from Sinostar Loan 2 and have Sinostar directly

wire (wire fraud) that amount to Ted W. Walters & Associates, LLC. (Exhibit 14, 11/13/2018

Letter.)

           169.   On November 26, 2018, Tubeileh caused Global Oklahoma to fraudulently assign

Tubeileh, personally, a 1% ORRI in the Johnson No. 1-H well. Tubeileh signed on behalf of

himself and on behalf of Global Oklahoma. Huddleson signed as a witness. (Exhibit 15,

11/26/2018 ORRI Assignment.)

           170.   At the same time, Tubeileh caused Global Oklahoma to fraudulently assign 0.25

ORRIs to both the CA Portfolio Management and Bryant-Link Company, LLC.

           171.   On December 7, 2018, Tubeileh, on behalf of Global Oklahoma, informed Barnett

that Global Oklahoma would draw $500,000 from the Sinostar Loan 2 and have Sinostar directly

wire that amount to Company #3. (Exhibit 16, 12/7/2018 Letter.)

           172.   On December 11, 2018, Tubeileh, on behalf of Global Oklahoma, informed Barnett

that Global Oklahoma would draw $500,000 from the Sinostar Loan 2 and have Sinostar directly

wire that amount to Company #3.

           173.   Global Oklahoma repaid this fraudulent loan on December 21, 2018, for the full

outstanding principal amount plus interest: $2,022,754.67.

           174.   On February 5, 2019, Tubeileh fraudulently caused Global Oklahoma to assign him

a 5.45% ORRI in Embry No. 1-H. Tubeileh signed on behalf of himself and on behalf of Global

Oklahoma. Huddleston served as the witness.




                                                 35
   Case 4:24-cv-00667-O Document 1 Filed 07/17/24                            Page 36 of 101 PageID 36



         175.     The money Jamalabox obtained was procured by fraud. 18 U.S.C. § 1343. The

money was laundered to Sinostar. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B). And the loan from

Sinostar to Global Oklahoma was with funds derived from specified unlawful activity. 18 U.S.C.

§ 1957(a).

                 C.       Sinostar Fraudulent Loan 3.

         176.     Using the money Jamalabox illegally obtained from the Global U.S. Subsidiaries

and then transferred to Sinostar, in February 2019 Tubeileh caused Global Oklahoma to agree to

take yet another fraudulent loan from Sinostar.

         177.     Effective February 12, 2019, Tubeileh caused Global Oklahoma to agree to a third

illicit loan (“Sinostar Loan 3”). Sinostar Loan 3, between Global Oklahoma and Sinostar, had a

principal amount of $1,500,000.

         178.     Instead of interest, however, Sinostar and Global Oklahoma agreed on “[c]ash

[c]ompensation as [i]nterest,” which required Global Oklahoma to pay Sinostar 2.5% of each

well’s authorization for expenditure (“AFE”) 4 cost—“for a period of five (5) years” regardless of

“whether the Loan has been repaid or not”—“for each well to be drilled or re-drilled in the

“Drilling Area,” which was Hardeman County, Texas.

                 D.       Amendments to Sinostar Fraudulent Loan 1 and the Related Oil and
                          Gas Investments.

         179.     On February 26, 2019, Tubeileh caused Sinostar and Global Oklahoma to amend

Sinostar Loan 1 to expand its purpose to include financing the balance of the Wildman 1H well.5




4 An authorization for expenditure is essentially an invoice sent by the operator or well owner to equity partners and
details the costs required to fund the well. The cost for any one equity partner is commensurate with the percentage
ownership. That is, if Global Oklahoma was a 50% partner, it should have, in the normal course, been responsible for
50% of the cost.
5 This Amendment mistakenly states the effective date of Sinostar Loan 1 is February 22, 2019.

                                                         36
   Case 4:24-cv-00667-O Document 1 Filed 07/17/24                          Page 37 of 101 PageID 37



He also caused an amendment to Section 2.2, which provided that Global Oklahoma would also

give Sinostar a 2.5% carried working interest “in each new well/wellbore in the Drilling Area [that

included Hardeman County, Texas and Jackson County, Oklahoma] … starting with Hanner

Hatcher 1H.” Tubeileh fraudulently signed on behalf of the Global U.S. Subsidiaries, Barnett

fraudulently signed on behalf of Sinostar.

        180.     This entire transaction constituted mail or wire fraud and money laundering. 18

U.S.C. § 1343; 18 U.S.C. § 1956; 18 U.S.C. § 1957.

        181.     On April 1, 2019, Tubeileh caused Global Texas to fraudulently assign Tubeileh a

1% ORRI in Johnson No. 1-H and related leases. Tubeileh signed on behalf of himself and on

behalf of Global Texas. Huddleston signed as a witness.

        182.     On April 2, 2019, Tubeileh caused Global Texas to fraudulently assign Tubeileh a

5% ORRI in Hanner Hatcher No. 1-H and related leases. Tubeileh signed on behalf of himself and

on behalf of Global Texas.

        183.     On April 2, 2019, Tubeileh caused Global Texas to fraudulently assign PetroQuest

Exploration Inc., another one of Huddleston’s companies, a 0.35 ORRI in Hanner Hatcher

No. 1-H. Huddleston signed on behalf of PetroQuest; Tubeileh signed for Global Texas.

(Exhibit 17, 4/2/2019 ORRI Assignment.)

        184.     On April 8, 2019, Tubeileh fraudulently caused Global Oklahoma and Sinostar to

amend Sinostar Loan 1 again. 6 This amendment added that Global Oklahoma would grant Sinostar

a 1% ORRI in “each and any new well/wellbore” that Global Oklahoma drills “in the Drilling

Area.” Tubeileh signed on behalf of the Global U.S. Subsidiaries (both Global Texas (which

pledged collateral) and Global Oklahoma); Barnett signed on behalf of Sinostar.



6 This Amendment mistakenly states the effective date of Sinostar Loan 1 is February 22, 2019.

                                                       37
   Case 4:24-cv-00667-O Document 1 Filed 07/17/24                          Page 38 of 101 PageID 38



        185.     On April 17, 2019, Tubeileh fraudulently caused Global Oklahoma and Sinostar to

amend Sinostar Loan 1 for the third time. 7 This amendment added that, if Global Oklahoma

invested or drilled in any Cleveland Sand well in Washita County, Oklahoma, Global Oklahoma

would give Sinostar 10% of its carried working interest in any such well.

        186.     Between April 19, 2019, and April 22, 2019, Tubeileh caused Global Texas to

exchange Tubeileh’s 5% working interest in the Johnson No. 1-H well for a 1% ORRI in the same

well. Tubeileh signed the reassignment on behalf of both himself and Global Texas.

        187.     On April 23, 2019, Tubeileh fraudulently caused Global Texas to assign him a 1%

ORRI in the Gilliam No. 1-H well and leases. Tubeileh signed on behalf of himself and Global

Texas; Huddleson signed as a witness.

        188.     On May 25, 2022, Tubeileh informed Land that he had sold his ORRIs in all

Hardeman County wells (including Gilliam No. 1-H) to Sinostar and instructed her to set up wire

transfers to Sinostar to reflect the sale of these ORRIs. (Exhibit 18, 5/25/2022 Emails, Tubeileh

and Land.)

        189.     On June 1, 2022, Tubeileh personally executed a purchase and sale agreement with

Sinostar for his ORRIs in the Hardeman Project, as well as any future ORRI rights Tubeileh may

obtain in wells drilled by the Global U.S. Subsidiaries in Hardeman County, in exchange for

$687,500. Tubeileh signed the purchase and sale agreement on behalf of himself, and there is a

signature above the printed “John Barnett,” on behalf of Sinostar. (Exhibit 19, 6/1/2022 Purchase

and Sale Agreement.)

        190.     The money Jamalabox obtained was procured by fraud. 18 U.S.C. § 1343. The

money was laundered to Sinostar. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B). And the loan from



7 This Amendment mistakenly states the effective date of Sinostar Loan 1 is February 22, 2019.

                                                       38
   Case 4:24-cv-00667-O Document 1 Filed 07/17/24                             Page 39 of 101 PageID 39



Sinostar to Global Oklahoma was with funds derived from specified unlawful activity. 18 U.S.C.

§ 1957(a).

                 E.       Sinostar Fraudulent Loan 4 and the Related Oil and Gas Investments.

         191.     Using the money Jamalabox illegally obtained from the Global U.S. Subsidiaries

and then transferred to Sinostar, in July 2019, Tubeileh caused Global Oklahoma to agree to take

another fraudulent loan from Sinostar.

         192.     Effective July 15, 2019, Tubeileh fraudulently caused Global Texas, Global

Oklahoma, and Sinostar to agree to a restated version of Sinostar Loan 1 (“Sinostar Loan 4”). 8

Sinostar Loan 4 was for $2,500,000 and carried 2% interest per month. Tubeileh signed on behalf

of Global Oklahoma and Global Texas; Barnett signed on behalf of Sinostar.

         193.     The purpose of Sinostar Loan 4 was for: (1) drilling in Hardeman County, Texas

and Jackson County, Oklahoma; (2) “financing the balance of the Wildman 1H well[;]”

(3) “financing the drilling of a Cleveland Sand [W]ell in Washita County, Oklahoma” with U.S.

Energy Exploration Corporation; and (4) “the purchase of a participation in the HH Coffield Estate

Mineral Package” with Company #1.

         194.     Company #1 is a Texas company that is also involved in the oil and gas industry

and, on information and belief, operated out of the same office building as Global Oklahoma,

Global Texas, BDHL, and Huddleston.

         195.     Tubeileh caused Global Oklahoma to fraudulently agree to give Sinostar: (1) a 1%

ORRI in each well drilled in Hardeman County, Texas and Jackson County, Oklahoma; (2) a 2.5%

carried working interest in “any well drilled in Ohio or Pennsylvania” by US Energy; and (3) a 3%

ORRI in any Cleveland Sand Well (Washita County, Oklahoma or Cleveland County, Oklahoma).



8 This restated version mistakenly states the effective date of Sinostar Loan 1 is February 22, 2019.

                                                         39
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24               Page 40 of 101 PageID 40



       196.   The money Jamalabox obtained was procured by fraud. 18 U.S.C. § 1343. The

money was laundered to Sinostar. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B). And the loan from

Sinostar to Global Oklahoma was with funds derived from specified unlawful activity. 18 U.S.C.

§ 1957(a).

              1.      Tubeileh Causes the Global U.S. Subsidiaries to invest in the Coffield
                      Mineral Estate.

       197.   With Sinostar Loan 4 in place, Tubeileh caused the Global U.S. Subsidiaries to

invest in the H.H. Coffield Estate in Dimmit County, Texas (the Coffield Project).

       198.   In the first transaction on July 15, 2019, Tubeileh caused Global Oklahoma to

purchase a 72% stake in Company #1’s ownership interests in the Coffield Project for $2,400,000.

(Exhibit 20, 7/15/2019 Purchase/Sale Agreement, Company #1 and Global Oklahoma.)

       199.   Company #1 agreed to pay Global Oklahoma 40% of its July revenue check, i.e.,

the revenues that Company #1 would have recognized that month had it not sold to Global

Oklahoma. (Ex. 20.)

       200.   In the second transaction on July 15, 2019, Tubeileh personally purchased 20% of

Company #1’s ownership interests in the Coffield Project for $95,000. Company #1 also agreed

to give Tubeileh 10% of its July 2019 revenue check. (Exhibit 21, 7/15/2019 Purchase/Sale

Agreement, Company #1 and Tubeileh.)

       201.   On information and belief, Tubeileh made the purchase with funds obtained by the

wire fraud described herein.

       202.   Despite these transactions taking place on the same day, involving the same seller

and same property interests, Tubeileh obtained significantly more favorable terms for himself

than he did for Global Oklahoma. Global Oklahoma’s cost was approximately seven times what

Tubeileh himself paid.

                                               40
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                     Page 41 of 101 PageID 41



        203.    If Global Oklahoma had received the same terms Tubeileh arranged for himself,

Global Oklahoma would have paid substantially less for Company #1’s interests. Thus, Global

Oklahoma not only paid substantially more per percentage than Tubeileh, but also lost out on a

portion of the July 2019 royalty check.

               F.      Sinostar Fraudulent Loan 5

        204.    Using the money Jamalabox illegally obtained from the Global U.S. Subsidiaries

and then transferred to Sinostar, in February 2020 Tubeileh caused Global Oklahoma to agree to

take another fraudulent loan from Sinostar.

        205.    On February 21, 2020, Tubeileh caused Global Texas to fraudulently agree to a

loan from Sinostar with a principal amount of $1,600,000 and interest accruing at 12% each year

(“Sinostar Loan 5”). Tubeileh signed on behalf of Global Texas; Barnett signed on behalf of

Sinostar.

        206.    The purpose of Sinostar Loan 5 was for “drilling and completion of an oil and gas

well (the ‘Well’)” in the “‘Welcome Prospect’ in Columbia County, Arkansas” and any other “reef

structure developed as part of the ‘Smackover Middle Ramp Reef’” area.

        207.    In addition to interest, Tubeileh caused Global Texas to fraudulently grant Sinostar

the option to acquire 50% of Global Texas’s 45% interest in any Well, and Sinostar’s “payment”

for its interest in that acquisition would be “in the form of a credit and setoff against the outstanding

principal balance of” Sinostar Loan 5.

        208.    On August 7, 2020, Tubeileh fraudulently caused Global Texas and Sinostar to

amend Sinostar Loan 5 to increase the principal to $1,650,000 and expand the purpose to include

leasing additional acreage in the “Eastern Reef.”




                                                   41
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 42 of 101 PageID 42



       209.    That amendment also increased Sinostar’s option to purchase Global Texas’s

interest to 75% of Global Texas’s now-50.5% interest in the “Well and any subsequent wells,” but

maintained the cost for that acquisition would be set off against principal.

       210.    On September 3, 2020, Tubeileh fraudulently caused Global Texas and Sinostar to

amend Sinostar Loan 5 again, this time to increase the principal to $1,850,000 and to expand the

purpose to include drilling in the “Dupont Prospect in Iberville Parish, Louisiana.”

       211.    On April 20, 2021, Tubeileh fraudulently caused Global Texas and Sinostar to

amend Sinostar Loan 5 a third time, this time to increase the principal to $2,250,000 and to expand

the purpose to include “participating in three vertical wells in Hopkins County, Kentucky”—

which, as discussed below, were run by Blackhorn and were a sham. The interest rate also

increased to 15%, but Sinostar’s participation options did not change.

       212.    The money Jamalabox obtained was procured by fraud. 18 U.S.C. § 1343. The

money was laundered to Sinostar. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B). And the loan from

Sinostar to Global Oklahoma was with funds derived from specified unlawful activity. 18 U.S.C.

§ 1957(a).

              G.      Sinostar Fraudulent Loan 6

       213.    Using the money Jamalabox illegally obtained from the Global U.S. Subsidiaries

and then transferred to Sinostar, in June 2021 Tubeileh caused Global Oklahoma to agree to take

another fraudulent loan from Sinostar.

       214.    On June 18, 2021, Tubeileh fraudulently caused Global Texas and Sinostar to agree

to a loan (“Sinostar Loan 6”) that rolled over the balance due on Sinostar Loan 5, for which the

outstanding principal and accrued interest was $1,824,327. Interest on this new loan accrued at

15% each year. Tubeileh signed on behalf of Global Texas; Barnett signed on behalf of Sinostar.



                                                 42
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 43 of 101 PageID 43



       215.    This loan is the subject of ongoing litigation in the State of Texas, Tubeileh, et al.,

v. Global Oil & Gas Texas, LLC, et al., Case No. DC-23-07534 (68th Jud. Dist., Dallas Cnty.).

       216.    The money Jamalabox obtained was procured by fraud. 18 U.S.C. § 1343. The

money was laundered to Sinostar. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B). And the loan from

Sinostar to Global Oklahoma was with funds derived from specified unlawful activity. 18 U.S.C.

§ 1957(a).

               H.    Sinostar Fraudulent Loan 7

       217.    Using the money Jamalabox illegally obtained from the Global U.S. Subsidiaries

and then transferred to Sinostar, in February 2023 Tubeileh caused Global Texas to agree to

another fraudulent loan from Sinostar.

       218.    On February 15, 2023, Mader and Tubeileh fraudulently caused Global Texas to

enter into a loan agreement with Sinostar (“Sinostar Loan 7”). Sinostar Loan 7 had a principal

amount of $1,227,917.61 and interest that accrued “at a rate equal to Twelve (12%) percent per

annum.” Mader signed on behalf of Global Texas and Global Oklahoma; Tubeileh signed on behalf

of Sinostar.

       219.    Tubeileh personally acquired this loan from Sinostar the same day it was made,

February 15, 2023.

       220.    This loan is the subject of ongoing litigation in the State of Texas, Tubeileh v.

Global Oil & Gas Texas, LLC, Case No. DC-23-07534 (68th Jud. Dist., Dallas Cnty.).

       221.    The money Jamalabox obtained was procured by fraud. 18 U.S.C. § 1343. The

money was laundered to Sinostar. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B). And the loan from

Sinostar to Global Oklahoma was with funds derived from specified unlawful activity. 18 U.S.C.

§ 1957(a).



                                                 43
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 44 of 101 PageID 44



              I.      Tubeileh’s Fraudulent Loans

       222.    Using the money Jamalabox illegally obtained from the Global U.S. Subsidiaries

and then transferred to Sinostar, in March 2023 Tubeileh caused Global Texas to agree to another

fraudulent loan from Sinostar.

       223.    On March 15, 2023, Tubeileh and Mader fraudulently caused Global Texas to enter

into a loan with Tubeileh (“Tubeileh Loan 1”). Tubeileh Loan 1 had a principal amount of

$1,861,3589.41 and accrued interest at 15% per annum. Mader signed for Global Texas; Tubeileh

signed for himself.

       224.    The principal of this loan was a combination of two amounts: (1) the “outstanding

principal” on Sinostar Loan 7, $1,191,759.41; and (2) $669,600.00 “in outstanding purchase price

payments for Overriding Royalties in the wells: Fatheree 2 (Illinois), Blackhorn 1 (Kentucky) and

Skipworth 9 (Kentucky). It then cross-references several documents related to the purported sale

of ORRIs related to the Blackhorn project. (See infra ¶¶ 251–309.)

       225.    On March 17, 2023, Tubeileh and Mader caused Global Texas to agree to a loan

with Tubeileh (“Tubeileh Loan 2”). Tubeileh Loan 2 had a principal amount of $405,598.43 and

accrued interest at 15% per annum. Mader signed for Global Texas; Tubeileh signed for himself.

       226.    This loan is the subject of ongoing litigation in the State of Texas, Tubeileh, et al.,

v. Global Oil & Gas Texas, LLC, et al., Case No. DC-23-07534 (68th Jud. Dist., Dallas Cnty.).

       227.    The entire Self-Dealing Loan Scheme, because of Tubeileh’s fraudulent conduct—

concealing the true nature and origin of the loans and their terms, with the help of Dr. Mader,

Barnett, Huddleston, and others—was concealed from the Global U.S. Subsidiaries. The truth and

extent of this fraud was not discovered until after Tubeileh’s resignation in May 2023.




                                                 44
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24               Page 45 of 101 PageID 45



                                    THE COMMISSIONS SCHEME

       228.    Tubeileh also structured various deals in a way that would allow him to conceal

and reap commission payments—in addition to the sham “advisory” fees discussed above—paid

by the Global U.S. Subsidiaries. Tubeileh also ensured others could profit too, including

Huddleston. Three examples follow.

       A.      Capstone.

       229.    In September 2019, Tubeileh and Mader formulated another deal, this time for oil

and gas rights owned by Capstone Natural Resource Partners II, L.P. (“Capstone”), in Upton

County, Texas. Tubeileh represented that Global Texas could acquire 100% of Capstone’s interest

for $7 million, all in, despite the actual purchase price.

       230.    But the actual contractual purchase price for Capstone’s 100% working interest was

$4,250,000.

       231.    The difference between the price Tubeileh provided and the one identified in the

Capstone purchase and sale agreement (“Capstone PSA”)—$2,750,000—is accounted for in part

by “commissions” Tubeileh agreed to pay himself and others on the deal, demonstrated by a letter

Tubeileh wrote to himself on September 28, 2019:




                                                  45
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                   Page 46 of 101 PageID 46




(Exhibit 22, 9/28/2019 Letter.)

       232.      Of the difference between the $7 million price conveyed versus the $4,250,000

actually paid under the Capstone PSA, the balance largely went to funding illicit commissions.

          233.   As a result of this arrangement, Tubeileh received a $2,150,000 commission—30%

of the purported deal price—and Huddleston got $440,000. Beyond this, Dee Martinez and

Huddleston each received carried working interest—their cost to invest was paid by the Global

U.S. Subsidiaries and any profit from those wells would have diverted to them.

       234.      In reality, Tubeileh and Huddleston were owed zero commission for this deal; the

letter, therefore, constitutes mail or wire fraud because the letter was intended to make it appear as

though Global Texas—and Dr. Mader—approved the commissions. 18 U.S.C. § 1341; 18 U.S.C.

§ 1343.

       235.      On November 8, 2019, and November 11, 2019, Huddleston received two wire

transfers that Tubeileh fraudulently caused the Global U.S. Subsidiaries to make, totaling

$440,000, for his commission related to the Capstone deal.
                                               46
   Case 4:24-cv-00667-O Document 1 Filed 07/17/24                              Page 47 of 101 PageID 47



         236.     On February 6, 2020, Tubeileh fraudulently caused the Global U.S. Subsidiaries to

pay Bryant-Link Company, LLC, a $23,000 commission for the Capstone project.

         237.     Tubeileh fraudulently caused some of his commission to be paid up front, and then

claimed he was owed the balance from the Global U.S. Subsidiaries.

                 B.       West Virginia.

         238.     In February 2021, Tubeileh fraudulently caused Global Oklahoma to pay Tubeileh

and Huddleston commissions related to Global Oklahoma’s purchase of 77.5 net mineral acres,

for $435,000, from Louisiana Offshore, one of Huddleston’s companies, in Ritchie County, West

Virginia. 9

         239.     On top of the purchase price, Tubeileh caused Global Oklahoma to pay a $27,500

commission to Huddleston and a $172,000 commission to Tubeileh—nearly a 40% commission.

There is no basis in fact for either of these commissions and the email from Tubeileh purporting

to authorize these commissions constitutes wire fraud. 18 U.S.C. § 1343. (Exhibit 23, 2/22/2021

Emails, Tubeileh and Land.)

         240.     Because Tubeileh claimed the payment was immediately due—manufacturing

urgency and funding needs—and Tubeileh knew Global Oklahoma did not have that much cash

on hand, Tubeileh caused Global Oklahoma to borrow $435,000 from Sinostar and pay it back “at

the end of the month” after the Global U.S. Subsidiaries’ lender sent more funds. (Ex. 23.)

         241.     On information and belief, on or about February 22, 2021, Tubeileh caused Sinostar

to pay Tubeileh, by either wire or check, $172,500. These funds ultimately transferred from



9 This transaction is subject to pending litigation in the United States District Court for the Northern District of West
Virginia, based on allegations that an initial transfer of mineral interests in which Huddleston was involved was
effectuated through the forgery of a deceased woman’s signature. See M&M Land Consulting, LLC v. Lorentz,
No. 1:23-cv-54-TSK (N.D.W. Va.) (filed June 21, 2023).


                                                          47
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 48 of 101 PageID 48



Sinostar to Tubeileh were procured by fraud through the Sham Advisory Fee Scheme or the Self-

Dealing Loan Scheme and therefore constitute money laundering. 18 U.S.C. § 1956(a)(1)(A)(i);

18 U.S.C. § 1956(a)(1)(B)(i).

       242.    On or about February 22, 2021, Tubeileh fraudulently caused Global Oklahoma to

pay Huddleston $27,500 via check.

       243.    This “commission” payment to Huddleston had no basis in fact and no legitimate

business justification. Because the “commission” was unjustified, the instruction to complete the

wire for that purpose constituted wire fraud. 18 U.S.C. § 1343.

       244.    On February 23, 2021, Tubeileh fraudulently caused Global Oklahoma to repay

Sinostar $435,000, plus $1,000 in interest.

              C.      Kentucky.

       245.    Tubeileh also caused Global Texas to pay commission to Huddleston related to the

Blackhorn project discussed below.

       246.    On April 19, 2021, shortly after Tubeileh agreed on behalf of Global Texas to drill

with Blackhorn in Kentucky, Tubeileh sent Lori Land an email instructing her to issue a $10,000

“commission” check to Huddleston for “the Kentucky drilling deal.” (Exhibit 24, 4/19/2021

Emails, Tubeileh and Land.) This email instruction constitutes wire fraud because it was done with

the intent to appear as though Huddleston was entitled to such “commissions,” when in fact the

opposite was true. 18 U.S.C. § 1343.

       247.    On April 19, 2021, Tubeileh fraudulently caused Global Oklahoma to pay

Huddleston $10,000 via check.

       248.    The full scope and breadth of the Commissions Scheme—because of Tubeileh’s

fraud and concealment of the same, with the assistance of Dr. Mader and others—was not known

to the Global U.S. Subsidiaries until after Tubeileh’s resignation in 2023.
                                                48
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 49 of 101 PageID 49



                                  THE BLACKHORN INVESTMENT

       249.    In April 2021—stemming from a Las Vegas meeting between Tubeileh,

Huddleston, and Blackhorn’s representative, Grant Norwood—Tubeileh identified an oil and gas

investment where he could put his years of fraudulent schemes to work all at once: the Blackhorn

investment.

       250.    In practice, the Blackhorn investment—setting to one side Blackhorn USA’s and

Blackhorn Group’s breaches of their fiduciary duties to the Global U.S. Subsidiaries—involved

two schemes, orchestrated by Tubeileh for his personal benefit and the benefit of his co-

conspirators and to the detriment of the Global U.S. Subsidiaries: (1) the Overriding Royalty

Scheme and (2) the Carried Working Interest Scheme.

       A.      The Mechanics of the Blackhorn Investment

       251.    In an April 6, 2021 email, Tubeileh informed Mader of oil investment opportunities

with Blackhorn Group, asserting that three existing wells were producing 180–300 Barrels of Oil

Equivalent Per Day (“BOEPD”), and that reserves were estimated at about 300,000–350,000

Barrels of Oil Equivalent (“BOE”) per source. Tubeileh represented the Authorization for

Expenditure (“AFE") costs per source were $1.064 million, plus commissions and other expenses.

Mader, in a one-line email, dutifully approved without hesitation.

       252.    Tubeileh offered that Global Texas could purchase an 8% interest in these wells at

$1.35 million for the first ten sources.

       253.    With no apparent basis, Tubeileh claimed in the same April 6, 2021 email to Mader

that Tubeileh would have a 3%–5% Carried Working Interest and a 0.5%–0.85% ORRI on this

project. Mader did not question these claims.

       254.    The assertions about Tubeileh’s carried working interest and ORRIs,

communicated to Mader via email, were intended by Tubeileh as part of his scheme to defraud the
                                                49
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 50 of 101 PageID 50



Global U.S. Subsidiaries by means of false or fraudulent pretenses and constitute wire fraud. 18

U.S.C. § 1343.

       255.      Tubeileh further stated the U.S. oil industry had overlooked this opportunity and

that Blackhorn had discovered a “gold pit” that Global Texas could get in on and even receive a

share of the already drilled sources.

       256.      For example, in a later email sent on July 12, 2021, Tubeileh informed Mader that

Global Texas was poised to expand its holdings in the Blackhorn wells; that the Toothacre #2 well

was producing 150–200 barrels of oil per day; and that Blackhorn Group would offer buy-in for

the existing well, Toothacre #1, which was producing 110 barrels of oil per day.

       257.      On April 16, 2021, Logan Wheat, on behalf of Blackhorn USA, sent Tubeileh a

“Proposal for Blackhorn USA Kentucky Acreage Holdings” and the “proposed investment” in

Blackhorn USA’s “multi-well drilling program.”

       258.      Blackhorn USA agreed to grant Global Texas a Right of First Refusal (“ROFR”) to

invest up to a one-eighth (12.5%) interest in every horizontal well and up to one-half (50%) interest

in each vertical well Blackhorn USA would drill as part of the Blackhorn project. (Exhibit 25,

4/16/2021 Right of First Refusal.

       259.      If Global Texas chose to exercise the Right of First Refusal, Global Texas would

purchase a 12.5% working interest in each horizontal well and a 50% interest in each vertical well.

If it declined, it would lose the ROFR for all future wells. (Ex. 25.)

       260.      Wheat signed the letter on behalf of Blackhorn USA; Tubeileh signed on behalf of

the Global U.S. Subsidiaries. (Ex. 25.)

       261.      Around the same time, Blackhorn USA provided the Global U.S. Subsidiaries with

a form draft operating agreement, dated May 1, 2021, related to various wells to be drilled in



                                                 50
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 51 of 101 PageID 51



Hopkins County and Muhlenberg County, Kentucky. (Exhibit 26, 5/1/2021 Operating

Agreement.)

       262.    Wheat executed the Operating Agreement on May 11, 2023, but backdated it to

May 11, 2021. (Ex. 26.)

       263.    When Wheat visited the Global U.S. Subsidiaries offices after Tubeileh’s

resignation, Blackhorn provided an unsigned copy of the Joint Operating Agreement.

       264.    Only after months of back-and-forth with Wheat and Blackhorn’s counsel did

Blackhorn turn over a version of the Joint Operating Agreement purportedly signed by Tubeileh

two years later, on May 11, 2023, the same day that Tubeileh resigned from his roles with the

Global U.S. Subsidiaries and three days after he was stripped of his authority to act on behalf of

the Global U.S. Subsidiaries. (Ex. 26.)

       265.    The purported Joint Operating Agreement under which Blackhorn and the Global

U.S. Subsidiaries operated eliminated a records and inspection component, which made

discovering Tubeileh’s various schemes as it related to the Blackhorn project more challenging

because the Global U.S. Subsidiaries had no contractual access to Blackhorn’s records:




(Ex. 26.)




                                               51
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                               Page 52 of 101 PageID 52



        266.   There is no explanation why Wheat and Blackhorn or Tubeileh would expressly

exclude auditing abilities and rights on a multi-million-dollar investment that Tubeileh falsely

represented as one of the Global U.S. Subsidiaries’ largest and most profitable investments.

        267.   Nor is there any explanation why Blackhorn would proceed with an unsigned Joint

Operating Agreement. But at a meeting in Las Vegas, Tubeileh and others determined they would

all profit at the expense of the Global U.S. Subsidiaries on this sham project and proceeded with

that intent.

               B.    Tubeileh’s Blackhorn Investment Schemes

        268.   Against this backdrop and with the ROFR and the Joint Operating Agreement in

hand (yet unsigned), Tubeileh set to work to put two more schemes into place—the Overriding

Royalty Scheme and the Carried Working Interest Scheme—which are shown by the diagram

below and explained infra, ¶¶ 269–326:



                                                         Blackhorn




                          50% or 12.5%                                        $ to purchase a
                         Working Interest                                      50% or 12.5%
                                                                              Working Interest




                                                   Global U.S. Subsidiaries




                                                                                 1% or .5%
                                                               $ for ORRI
                                                                                  Working
                                                                Payment
                                                                                  Interest


                                             19% or 4%
                                            Working Interest
                                                                                          Mr. Huddleston




                                                        Mr. Tubeileh




                                                           52
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                 Page 53 of 101 PageID 53



                1.      The Overriding Royalty Scheme

        269.    Tubeileh claimed he received ORRIs, without paying consideration, from Global

Texas in every Blackhorn well in which Global Texas elected to participate. This representation

was false and part of Tubeileh’s scheme to defraud the Global U.S. Subsidiaries based on the false

representation that he received ORRIs. 18 U.S.C. § 1343.

        270.    In reality, Tubeileh never possessed the ORRIs he represented that he held. First, a

company would have no reason to give ORRIs to a salaried employee. Second, Tubeileh never

provided Blackhorn with any notification related to the purported transfer or assignment of these

ORRIs, which means the operator for the wells had no substantiating paperwork, and there was no

obligation to pay out for the ORRIs. Third, on information and belief, Blackhorn has no record of

any ORRI transfer to Global Texas, from Global Texas to Tubeileh, or from Tubeileh back to

Global Texas.

        271.    Regardless, Tubeileh, with Mader’s approval, fraudulently caused Global Texas to

purchase these made-up ORRIs from him.

        272.    In an email thread culminating on September 9, 2021, Tubeileh told Mader the

wells in Kentucky were very successful and that Global’s own consulting geologist was very

satisfied with the results.

        273.    Tubeileh further informed Mader that two of the Horizontal Wells (Toothacre #1

and #2) continued to produce about 100–200 barrels of oil per day and that the Vertical Wells

should produce about 50–100 barrels of oil per day as soon as they were connected.

        274.    Tubeileh then represented that he received the fictitious ORRIs at a 3% share in

each Vertical Well and at an 0.8% share in each Horizontal Well. 18 U.S.C. § 1343.

        275.    Tubeileh then offered to increase the Global U.S. Subsidiaries’ exposure to the

Blackhorn wells by selling his fictitious ORRIs to Global Texas for:

                                                 53
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 54 of 101 PageID 54



                     a. $181,440 for each 3% Vertical Well ORRI; and

                     b. $103,680 for each 0.8% Horizontal Well ORRI.

       276.    Tubeileh arrived at these proposed prices by representing that the Vertical Wells

were producing 70 barrels per day and the Horizontal Wells are producing 150 barrels per day.

       277.    Tubeileh then extrapolated those production volumes over four years at an oil price

of $60 per barrel.

       278.    Tubeileh represented these prices were conservative and stated that Global Texas

would be receiving significant upside potential practically for free.

       279.    Tubeileh also suggested that Global U.S. Subsidiaries would not have to finance

the purchase of these ORRIs, but rather it could gently finance the purchase price from Global’s

existing cash flow. The purpose of doing so was not to benefit Global U.S. Subsidiaries, but rather

to conceal Tubeileh’s ORRI scheme.

       280.    On September 9, 2021, Tubeileh and Mader executed a Purchase and Sale

Agreement dated September 10, 2021—but retroactively effective April 1, 2021, which predated

Global Texas’s and Blackhorn’s ROFR agreement—under which Global Texas purported to agree

to buy ORRIs from Tubeileh at the price of $181,440 for 3% ORRIs in Vertical Wells and

$103,860.00 for 0.8% ORRIs in Horizontal Wells (“PSA”). (Exhibit 27, 9/9/2021 Purchase &

Sale Agreement.)

       281.    Under the PSA, Tubeileh obligated Global Texas to pay him for his purported

ORRIs ten days after Global Texas elected to participate in a Blackhorn well—up front,

unconditionally, and in a lump sum—long before a well would be drilled and producing and the

well’s actual value could be determined. (Ex. 27.)




                                                 54
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 55 of 101 PageID 55



       282.    When Tubeileh returned the executed copy of the PSA to Mader, he sent it from a

Sinostar email account. Mader was amused by this and asked Tubeileh if he had begun working

for Sinostar “again.”

       283.    Tubeileh, in an effort to disguise his relationship with Sinostar, denied this and

stated that he played no role in Sinostar LLC and that he only had a role with Sinostar GmbH.

(Exhibit 28, 9/11/2021 Emails, Tubeileh and Mader.)

       284.    Under the PSA, every time Global Texas participated in a Blackhorn well, Tubeileh

obligated Global Texas to purchase the fictitious ORRIs from him.

       285.    Thus, each time Tubeileh elected for Global Texas to participate in a Blackhorn

well, he also ensured Global Texas would purchase a fraudulent ORRI from him.

       286.    On the evening of September 9, 2021, shortly after Mader returned a countersigned

copy of the PSA, Tubeileh emailed Lori Land and instructed her to begin preparing ORRI

payments to Tubeileh. (Exhibit 29, 9/9/2021 Email, Tubeileh and Land.)

       287.    This email from Tubeileh, having devised the ORRI Scheme to defraud the Global

U.S. Subsidiaries, constitutes wire fraud. 18 U.S.C. § 1343.

       288.    Although Tubeileh proposed the sale of the ORRIs to Mader, Tubeileh told Land

that Mader approached him and requested that he “sell the Overriding Royalty, they agreed to give

me in March 2021 before wells were drilled, back to Global.” (Ex. 29.)

       289.    Tubeileh having devised the ORRI Scheme to defraud the Global U.S. Subsidiaries

makes each transaction under the PSA an individual wire fraud. 18 U.S.C. § 1343.

       290.    Tubeileh’s statement to Land that the ORRIs were assigned to him in March 2021

contradicts other statements he made to others, to whom he represented that the ORRIs were orally

assigned to him in July 2020 and in writings on April 16 and April 17, 2021. In fact, Tubeileh

admitted it would be difficult to substantiate assignment of the ORRIs to him.

                                               55
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                 Page 56 of 101 PageID 56



       291.    Blackhorn had no separate knowledge of any such ORRI transfer.

       292.    Thus, after approaching Mader with the proposed sale of the ORRIs and Mader

signing the PSA, Tubeileh immediately changed his story and represented to Land that he was

forced to agree to the PSA.

       293.    Tubeileh told Land that Mader had offered to buy the ORRIs at the prices in the

PSA when, in fact, Tubeileh set his own price.

       294.    Tubeileh further told Land that “Global’s Net Revenue Interest in the horizontal

wells will increase from c. 6.0% to c. 6.8% and from 22.5% to 25.5% in all vertical wells (the last

checks probably erroneously included the ORRI). I have (had to) agreed to this offer, and Dr[.]

Mader insisted to quickly sign a simple PSA (see attached).”

       295.    Tubeileh’s statement that the last checks received by Global Texas “probably

erroneously” included the ORRI is highly suspicious and suggests Tubeileh was never assigned

the ORRIs in the first place, and thus he sold Global Texas rights it already possessed.

       296.    On information and belief, Tubeileh was never assigned ORRIs in Global Texas’s

interests in the Blackhorn wells.

       297.    The purported grant of ORRIs from Global Texas to Tubeileh in 2021 was never

recorded.

       298.    The purported grant of ORRIs from Tubeileh to Global Texas in 2021 was never

recorded.

       299.    Further, Tubeileh was on both sides of the transaction. If the ORRIs existed, in

exchange for receipt of the $7 million Tubeileh ultimately caused Global Texas to pay him for the

purported ORRIs, he should have advised Blackhorn that Global Texas owned the ORRIs.

       300.    In a September 9, 2021 email to Land, Tubeileh instructed Land to arrange to pay

him $1,658,880 for ORRI sales retroactively triggered by the PSA and additional ORRI sales

                                                 56
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 57 of 101 PageID 57



anticipated in the following week. This email from Tubeileh, having devised the ORRI Scheme to

defraud the Global U.S. Subsidiaries, constitutes wire fraud. 18 U.S.C. § 1343.

       301.    On September 22, 2021, Tubeileh confirmed the ORRIs subject to the PSA had

been transferred to Global Texas. This was false. This email from Tubeileh, having devised the

ORRI Scheme to defraud the Global U.S. Subsidiaries, constitutes wire fraud. 18 U.S.C. § 1343.

       302.    In reality, no ORRI rights were transferred to Global Texas or Global Oklahoma.

Neither Global Texas nor Global Oklahoma ever received ORRI payments from Blackhorn.

       303.    By agreements dated November 12, 2021, and September 9, 2022, Tubeileh and

Mader signed amendments to the PSA, which fraudulently increased the price of Tubeileh’s ORRI

payments from Global Texas and obligated Global Texas to purchase ORRIs from Tubeileh in

proportion to Global Texas’s level of investment in the Blackhorn wells.

       304.    With the Overriding Royalty Scheme in place, between April 2021 and April 2023,

Tubeileh signed AFEs exercising Global Texas’s options in forty-five Blackhorn wells.

       305.    Drilling forty-five wells at this pace with such limited production and information

was commercially unreasonable and contrary to industry best practices.

       306.    Tubeileh ensured that Global Texas continued to execute AFEs to participate in the

Blackhorn wells in an unreasonably expedited manner through the structure of the Blackhorn

ROFR, which provided Global Texas only ten days to decide whether to participate in any given

investment.

       307.    Further, the structure of the Blackhorn ROFR required that Global Texas participate

in every opportunity presented or else lose its right of first refusal for future Blackhorn wells,

which Tubeileh presented as a “once in a lifetime opportunity.”




                                               57
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24           Page 58 of 101 PageID 58



       308.   Based on Tubeileh causing Global Texas to participate in forty-five Blackhorn

Wells between April 2021 and April 2023, Tubeileh caused Global Texas to pay him $7,260,120

for ORRIs that did not exist:

                               Well              ORRI Payment
                           Toothacre 1            $103,680.00
                           Kirkpatrick 1          $103,680.00
                           Kirkpatrick 2          $103,680.00
                           Toothacre 2            $103,680.00
                             Bastin 1             $103,680.00
                           Toothacre 3            $181,440.00
                           Toothacre 4            $181,440.00
                           Toothacre 5            $181,440.00
                           Toothacre 6            $103,680.00
                            Higgins 1             $103,680.00
                           Toothacre 7            $181,440.00
                           Skipworth 1            $103,680.00
                           Skipworth 2            $103,680.00
                           Skipworth 3            $103,680.00
                           Toothacre 10           $103,680.00
                           Toothacre 11           $103,680.00
                           Skipworth 6            $181,440.00
                           Skipworth 5            $103,680.00
                            Nance #1              $103,680.00
                             Bickett 1            $103,680.00
                             Bickett 2            $103,680.00
                             Phaup 1              $181,440.00
                              Phaup2              $181,440.00
                           Skipworth 7            $181,440.00
                           Skipworth 8            $103,680.00
                             Austin 2             $181,440.00
                             Austin 3             $181,440.00
                             Austin 4             $181,440.00
                              Hunt 3              $181,440.00
                              Hunt 4              $181,440.00
                              Hunt 5              $181,440.00
                             Austin 1             $129,600.00
                              Allen 1              $57,600.00
                            Fatheree 1            $216,000.00
                            Fatheree 2            $216,000.00
                             Wood 1               $459,000.00
                              Hunt 1              $181,440.00
                                            58
   Case 4:24-cv-00667-O Document 1 Filed 07/17/24                             Page 59 of 101 PageID 59



                                      Hunt 2                      $181,440.00
                                   Skipworth 9                    $226,800.00
                                   Skipworth 10                   $226,800.00
                                   Skipworth 11                   $226,800.00
                                   Blackhorn 2                    $226,800.00
                                      Hunt 6                      $181,440.00
                                      Hunt 7                      $181,440.00
                                    Toothacre 9                   $103,680.00
                                     TOTAL                       $7,260,120.00

         309.     In sum, Global Texas paid over $21 million to invest in the Blackhorn wells

(including investment costs and payments to Tubeileh for alleged ORRIs), but in over two years,

Global Texas has received less than $1 million in net distributions from these wells, which resulted

in overall financial losses on the Blackhorn project.

                  2.       The Carried Working Interest Scheme

         310.     Separate from the Overriding Royalty Scheme, Tubeileh also reassigned Global

Texas’s working interest in the Blackhorn wells to himself and Huddleston through the Carried

Working Interest Scheme.

         311.     Recall that Global Texas, when it elected to participate in a Blackhorn well,

purchased a working interest of 50% in all vertical wells and 12.5% in all horizontal wells. Global

paid the entire portion of these purchases.

         312.     On April 27, 2021, Tubeileh caused Global Texas to assign .5% of Global Texas’s

working interest in the Blackhorn horizontal wells and 1% of Global Texas’s working interest in

the Blackhorn vertical wells to Huddleston as carried working interest. 10




10 Carried working interest is a fractional, non-possessory interest carved out of a working interest that is exclusive
from all costs of development or operation, usually for a set period of time known as the “carry period.” Once the
“carry period” ends, the carried interest will bear the development and operating costs and share in any subsequent
production according to whatever the agreed sharing ratio may be.
                                                         59
   Case 4:24-cv-00667-O Document 1 Filed 07/17/24                           Page 60 of 101 PageID 60



        313.      This transaction initiated by Tubeileh, having devised the Carried Working Interest

Scheme to defraud the Global U.S. Subsidiaries, constitutes wire fraud. 18 U.S.C. § 1343.

        314.      Huddleston then, in turn, transferred part of his carried working interest to his

network: Dee Martinez and/or the Dee Martinez Family Trust Limited Partnership. Huddleston

also transferred some of his carried working interest to Tubeileh’s cabinet maker, Wayne

Anchikoski.

        315.      Also on April 27, 2021, Tubeileh caused Global Texas to assign 4% of Global

Texas’s working interest in the horizontal wells and 19% of Global Texas’s working interest in

the vertical wells to Tubeileh as carried working interest. 11

        316.      This transaction initiated by Tubeileh, having devised the Carried Working Interest

Scheme to defraud the Global U.S. Subsidiaries, constitutes wire fraud. 18 U.S.C. § 1343.

        317.      On information and belief, this agreement was signed on or about April 27, 2021.

A signed version, dated November 12, 2021, also exists. Regardless, the assignment was

retroactive such that it encompassed every Blackhorn well. (Exhibit 30, 11/12/2021 CWI

Assignment.)

        318.      As a result of Tubeileh’s assignments of Global Texas’s working interests, Global

Texas’s actual working interest in the Blackhorn wells was 8% for horizontal wells and 30% for

vertical wells.

        319.      That is, although Global Texas provided all the financial capital to secure 12.5%

interest in the horizontal wells and 50% interest in the vertical wells, Global Texas only received

8% and 30% interests, respectively.




11 Despite several versions of this assignment, documents Blackhorn recorded as part of the public record related to
these wells indicate Global carried 8% in horizontal wells, consistent with Tubeileh’s original assignment of 4% to
himself and .5% to Huddleston.
                                                        60
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 61 of 101 PageID 61



          320.   In setting up these assignments of Global Texas’s working interests in the

Blackhorn wells, every time Global Texas elected to exercise its ROFR, Tubeileh and Huddleston

were automatically assigned part of Global Texas’s working interest at no cost and without any

risk.

          321.   As a result, Global Texas’s share of profits from the Blackhorn wells was greatly

reduced, despite Global Texas bearing all the costs:

                    Global’s                    Global’s                               Authorization
                                   Global                    Tubeileh     Huddleston
                   Purchased                    Diluted                                    for
        Well                      Working                    Working       Working
                    Working                     Working                                Expenditure
                                Interest Cost                Interest      Interest
                    Interest                    Interest                                   Date
 Toothacre 1         12.5%       $215,000.00      8%            4%          0.5%        1/12/2021
 Kirkpatrick 1       12.5%       $133,000.00       8%           4%          0.5%         4/26/2021
 Kirkpatrick 2       12.5%       $133,000.00       8%           4%          0.5%         4/26/2021
 Toothacre 2         12.5%       $133,000.00       8%           4%          0.5%         4/26/2021
   Bastin 1          12.5%       $149,625.00       8%           4%          0.5%         4/27/2021
 Toothacre 3         50.0%       $323,765.00      30%          19%           1%          4/27/2021
 Toothacre 4         50.0%       $323,765.00      30%          19%           1%          4/27/2021
 Toothacre 5         50.0%       $323,765.00      30%          19%           1%          4/27/2021
 Toothacre 6         12.5%       $160,300.63       8%           4%          0.5%         5/19/2021
  Higgins 1          12.5%       $149,625.00       8%           4%          0.5%         7/12/2021
 Toothacre 7         50.0%       $364,235.00      30%          19%           1%          7/30/2021
 Skipworth 1         12.5%       $177,525.70       8%           4%          0.5%         9/13/2021
 Skipworth 2         12.5%       $177,525.00       8%           4%          0.5%         9/13/2021
 Skipworth 3         12.5%       $182,718.98       8%           4%          0.5%        11/13/2021
 Toothacre 9                                    Traded from Toothacre 6
 Toothacre 10        12.5%       $185,039.30       8%           4%          0.5%        12/19/2021
 Toothacre 11        12.5%       $188,048.67       8%           4%          0.5%         1/4/2022
 Skipworth 6         50.0%       $400,550.00      30%          19%           1%          1/18/2022
 Skipworth 5         12.5%       $189,629.30       8%           4%          0.5%         1/28/2022
   Nance #1          12.5%       $189,629.30       8%           4%          0.5%         2/14/2022
   Bickett 1         12.5%       $198,337.50       8%           4%          0.5%         3/7/2022
   Bickett 2         12.5%       $198,337.50       8%           4%          0.5%         3/12/2022
   Phaup 1           50.0%       $400,550.00      30%          19%           1%          3/24/2022
   Phaup 2           50.0%       $400,550.00      30%          19%           1%          3/24/2022
 Skipworth 7         50.0%       $400,550.00      30%          19%           1%          3/24/2022
 Skipworth 8         12.5%       $205,618.36       8%           4%          0.5%         5/19/2022
   Austin 2           50%        $441,674.37      30%          19%           1%          6/13/2022
   Austin 3           50%        $441,674.37      30%          19%           1%          6/13/2022

                                                61
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 62 of 101 PageID 62



   Austin 4          50%          $441,674.37      30%         19%            1%          6/13/2022
   Hunt 3           50.0%         $403,067.18      30%         19%            1%           9/7/2022
   Hunt 4           50.0%         $403,067.18      30%         19%            1%           9/7/2022
   Hunt 5           50.0%         $403,067.18      30%         19%            1%           9/7/2022
   Austin 1         12.5%         $198,495.70      8%           4%           0.5%          9/9/2022
   Hunt 1           50.0%         $413,614.06      30%         19%            1%          12/1/2022
   Hunt 2           50.0%         $413,614.06      30%         19%            1%          12/1/2022
 Skipworth 9        50.0%         $405,598.43      30%         19%            1%          3/16/2023
 Skipworth 10       50.0%         $400,437.50      30%         19%            1%          3/24/2023
 Skipworth 11       50.0%         $400,437.50      30%         19%            1%          3/24/2023
 Blackhorn 2        50.0%         $400,437.50      30%         19%            1%          4/24/2023
   Hunt 6           50.0%         $404,656.25      30%         19%            1%          4/24/2023
   Hunt 7           50.0%         $404,656.25      30%         19%            1%          4/24/2023

        322.    As a result of the assignment of carried working interests for the Blackhorn wells—

for which Tubeileh paid nothing—in 2022 Tubeileh fraudulently reaped $327,823.58 in income

from his carried working interest.

        323.    Tubeileh continues to receive income from these interests today. On information

and belief, as a result of the Carried Working Interest Scheme, Tubeileh realized profits on the

Blackhorn wells in 2021, 2023, and 2024 as well.

        324.    As a result of the Carried Working Interest Scheme—for which Huddleston paid

nothing—on information and belief, Huddleston received payments in 2021, 2022, 2023, and/or

2024.

        325.    The carried working interests and the revenue generated by them, if any, are lost

profit to the Global U.S. Subsidiaries.

        326.    On information and belief, the Global U.S. Subsidiaries also paid all or a portion of

Blackhorn’s cost for each well.




                                                 62
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                 Page 63 of 101 PageID 63



  TUBEILEH SELLS THE GLOBAL U.S. SUBSIDIARIES’ ASSETS TO FURTHER THE OVERRIDING
                ROYALTY AND CARRIED WORKING INTEREST SCHEMES

       327.    On March 8, 2023, Tubeileh represented that interests Global Texas owned in

Upton County, Texas (the Upton Wells), were poor performers and that Global Texas should

dispose of them to pursue more investment with Blackhorn in Kentucky.

       328.    As it were, Tubeileh knew the perfect buyer: Grant Norwood, who had recently left

Blackhorn, and his new company NEC.

       329.    A short time later that day, after Tubeileh and Mader spoke by phone, Mader

emailed Tubeileh agreeing to dispose of the Upton Well interests and stated that this matter should

remain between the two of them, without informing Global AG or the Supervisory Board of Global

AG.

       330.    This arrangement particularly breached various loan obligations, as Global Texas’s

interests in the Upton Wells were part of a collateral pool Global Texas pledged to secure loan

financing, which Tubeileh and Mader knew or should have known.

       331.    On April 19, 2023, Norwood—who had previously worked for Blackhorn—

emailed Tubeileh stating, “I am ready to proceed with purchasing the Upton County assets for

$1,500,000.00, with an effective date of 4/1/23. I propose we split April’s net proceeds 50-50.

Please send me an assignment or let me know if I need to create one. Also, please send me wire

instructions, so I can send out a wire transfer tomorrow.” (Exhibit 31, 4/19/2023 Emails, Tubeileh

and Norwood.)

       332.    Despite Norwood’s offer to send the wire the next day, the assignment was not

entered into until April 27, 2023. On information and belief, there was not an advanced draft of

the assignment.




                                                63
   Case 4:24-cv-00667-O Document 1 Filed 07/17/24                           Page 64 of 101 PageID 64



        333.     Also on April 19, 2023, when confirming Global Texas’s ownership interests in

Upton County, Tubeileh told Norwood that Global Texas’s last PV10 valuation 12 of these interests

was $3 million. That is, the Upton Wells were valued at twice what Tubeileh agreed to sell them.

(Ex. 31.)

        334.     Despite selling Global Texas’s Upton interests far below their market value,

Tubeileh benefitted from this sale because he took an unauthorized 7%—$105,000—commission.

        335.     On information and belief, for no legitimate reason, Huddleston received a

$300,000 commission related to this sale.

        336.     In addition, Tubeileh intended to use the $1.5 million in proceeds to further fund

acquisitions in the Blackhorn project, which would require the Global U.S. Subsidiaries to

purchase additional purported ORRIs from Tubeileh under the PSA and steer more carried working

interest to Tubeileh and Huddleston.

     BLACKHORN’S BREACH OF ITS FIDUCIARY DUTIES TO THE GLOBAL U.S. SUBSIDIARIES

        337.     Regardless of if and when the Joint Operating Agreement (“JOA”) was executed,

the Global U.S. Subsidiaries and Blackhorn proceeded as joint venturers in the Blackhorn wells.

Part and parcel with that joint venture, either under the JOA or common law, Blackhorn and the

Global U.S. Subsidiaries owed each other fiduciary duties.

        338.     Under the ROFR and PSA discussed above, throughout 2021, 2022, and 2023,

Blackhorn provided dozens of AFEs for wells in Kentucky and several more for wells in Illinois;

Global Texas, at Tubeileh’s direction, elected to participate in every single one.

        339.     The rate at which Blackhorn issued AFEs was commercially unreasonable; normal

practice in the oil and gas industry is to drill a few exploratory wells and wait to see if there are


12 This is an estimated present value of future oil and gas revenues and net estimated direct expenses, at an annual
discount rate of 10%.
                                                        64
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                 Page 65 of 101 PageID 65



positive returns. Blackhorn instead drilled more than forty wells in two-and-a-half years, many

of which never produced a drop of oil. This investment made sense for Tubeileh and his co-

conspirators because they received payments and commissions with no risk because they did not

have to front any expense or risk that any well might not produce; they profited regardless.

       340.    But as soon as Tubeileh’s employment with the Global U.S. Subsidiaries ended,

Blackhorn began to find ways to wind down or offload its Kentucky drilling operation because the

project was not profitable and had not been from the start.

       341.    Instead, Blackhorn remained interested only so long as Tubeileh was at the helm of

the Global U.S. Subsidiaries and able to steer millions of dollars to Blackhorn for investments that

were not worth even 1/10th of what Blackhorn charged the Global U.S. Subsidiaries.

       342.    In mid-2023, the Global U.S. Subsidiaries requested to audit Blackhorn’s books

and records related to the April 16, 2021 Joint Operating Agreement.

       343.    Attorneys for the Global U.S. Subsidiaries visited Blackhorn’s office, where they

were met with security guards, threats, and obstruction from Wheat.

       344.    Because of Wheat’s obstruction, the Global U.S. Subsidiaries were only able to

make a partial audit of Blackhorn’s relevant books and records. The Global U.S. Subsidiaries have

not been invited back.

       345.    In June 2023, Blackhorn conveyed that the Global U.S. Subsidiaries had lost their

Right of First Refusal for additional investment in the Blackhorn Project.

       346.    Then, in July 2023, without informing the Global U.S. Subsidiaries, Blackhorn

recorded various mineral rights in favor of Tubeileh and Huddleston in Kentucky. (Exhibit 32,

7/21/2023 Recorded Assignment to Tubeileh.) In addition, Blackhorn offered Huddleston and his

company, Louisiana Offshore, a lower price than it offered Global for the same mineral interests.



                                                65
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                         Page 66 of 101 PageID 66



         347.    Late last year, Blackhorn finally produced a signed Joint Operating Agreement,

which it claimed Tubeileh signed after he resigned his positions with the Global U.S. Subsidiaries.

                                  THE IMMIGRATION FRAUD SCHEME

         348.    On July 29, 2017, Tubeileh signed an employment agreement with Global

Oklahoma and Global AG (“2017 Employment Agreement”).

         349.    In his role as Manager of Global AG’s U.S. subsidiaries, Tubeileh acted as their

sole officer, and he was solely in charge of business development, negotiating deals, binding the

companies to transactions, and reporting information and results to Global AG. Tubeileh also

instructed subordinate, back-office employees to fund the deals that Tubeileh entered into on

behalf of the Global U.S. Subsidiaries.

         350.    The 2017 Employment Agreement set Tubeileh’s gross salary at $12,500 per

month.

         351.    Despite the 2017 Employment Agreement running through the end of 2020, in April

2019, Tubeileh requested that Mader, on behalf of the Global U.S. Subsidiaries, extend his

employment term by five years.

         352.    Tubeileh and Mader conspired in 2019 to create a new employment agreement with

the Global U.S. Subsidiaries so that Tubeileh could apply for an E-2 visa. Both did so with full

knowledge that Tubeileh’s 2017 Employment Agreement had not expired. 13

         353.    Tubeileh and Mader agreed to a five-year extension of Tubeileh’s employment

agreement so that Tubeileh could represent to the United States Government that he had secured

long-term employment in order to support an E-2 Visa application.




13 A copy of this Complaint will be provided to the United States Immigration and Customs Enforcement.

                                                      66
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                 Page 67 of 101 PageID 67



         354.     On information and belief, the United States requires that the investment funds

identified on an E-2 Visa application be identified to ensure that they were not obtained through

illegal or criminal activities.

         355.     Tubeileh’s companies, Jamalabox and Sinostar, were engaged in the fraudulent

activities described here. On information and belief, Tubeileh did not have non-criminally derived

investment funds. As such, Tubeileh’s E-2 Visa was fraudulently obtained and based on a sham

employment contract.

         356.     Based on Tubeileh’s employment agreement that was in effect at the time he made

his E-2 Visa application, his monthly salary was approximately $12,500—which is $150,000 per

year. That is the only legitimate money he had or was entitled to; everything else was ill-gotten

gains.

         357.     Mader and Tubeileh signed this new employment agreement between Tubeileh,

Global Oklahoma, and Global AG, at the end of March 2019, with an effective date of April 1,

2019. (Exhibit 33, 3/31/2019 Employment Agreement.)

         358.     The 2019 Employment Agreement purported to extend Tubeileh’s term of

employment through December 31, 2024, but otherwise contained terms similar to the 2017

Employment Agreement. Mader and Tubeileh, based on their illicit side agreement, knew the only

real purpose of the 2019 Employment Agreement was so Tubeileh could apply for an E-2 work

visa. (Ex. 33.)

                      OTHERS WHO BENEFITTED FROM TUBEILEH’S SCHEMES

         359.     Beyond Tubeileh, Huddleston, Barnett, and Mader (among others), there are

several other individuals who realized financial benefits from Tubeileh’s schemes.




                                                 67
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 68 of 101 PageID 68



       A.      Chris Christenson

       360.    Chris Christenson is or was, on information and belief, a member, shareholder,

officer, and/or director of both CA Portfolio Management and CA Funds Group.

       361.    At various points throughout Tubeileh’s carrying on of the Schemes discussed

above, Christenson assisted Tubeileh, Huddleston, and others in carrying out certain components

of the Sham Advisory Fee Scheme, discussed above.

       362.    On information and belief, Christenson was instrumental in facilitating the

fraudulent payments from the Global U.S. Subsidiaries to CA Portfolio Management and CA

Funds Group and, similarly, directed the laundering of those fraudulently obtained funds to

Huddleston and others, as discussed above. See supra ¶¶ 68, 72–73, 75, 101–03, 107–08, 110–11,

115–17, 125–128, 138, 140, 144–45.

       363.    Christenson aided and abetted or helped facilitate the fraudulent transfer of funds

from the Global U.S. Subsidiaries to CA Portfolio Management and CA Funds Group, and then

further laundered or aided in laundering that money to Huddleston and others for Huddleston’s

benefit.

       364.    Christensen, on information and belief, has or had a close personal relationship with

Huddleston.

       365.    Beyond this, Christenson was also intimately involved with several deals in which

he took personal interest or interest on behalf of CA Portfolio Management or CA Funds Group,

including the Coffield investment (see supra ¶ 170), among others.

       366.    Third parties described Christenson as a “close advisor” to Tubeileh.

       367.    Tubeileh referred to Christenson as the Global U.S. Subsidiaries’ “legal counsel”

and at other times as “internal counsel,” despite the fact that Christenson did not hold and never

has held any such role as it relates to the Global U.S. Subsidiaries.

                                                 68
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 69 of 101 PageID 69



       368.    At all times material, Christenson knew or should have understood the extent and

scope of Tubeileh’s fraudulent schemes and Christenson did in fact play a major role in facilitating

them, including the efforts by Tubeileh and Huddleston to avoid Huddleston’s bankruptcy debts.

                                   THE BEGINNING OF THE END

       A.      Tubeileh Begins Cashing Out

       369.    Sensing that his various Schemes were coming to light, in mid-2022 and through

his resignation in May 2023, Tubeileh began to cash out, both on his own behalf and on behalf of

Jamalabox and Sinostar.

       370.    On May 25, 2022, Tubeileh informed Land that he had sold his ORRIs in all

Hardeman County wells (including Gilliam No. 1-H) to Sinostar and instructed her to set up wire

transfers to Sinostar to reflect the sale of these ORRIs, despite the fact that Land did not work for

Tubeileh personally or for Sinostar.

       371.    On June 1, 2022, Tubeileh executed a purchase and sale agreement with Sinostar

for his ORRIs in the Hardeman Project, as well as any future rights Tubeileh may obtain to ORRIs

for wells drilled by the Global U.S. Subsidiaries, in exchange for $687,500. Tubeileh signed the

purchase and sale agreement on behalf of himself, and John Barnett signed on behalf of Sinostar.

       372.    On February 22, 2023, Tubeileh caused Global Oklahoma to purchase from

Sinostar, for $150,000, all of Sinostar’s ORRIs in the Hardeman Project, as well as any future

rights to ORRIs Sinostar may obtain for wells in which the Global U.S. Subsidiaries became

involved. Mader signed this agreement on behalf of Global Oklahoma; Tubeileh signed on behalf

of Sinostar. (Exhibit 34, 2/22/2023 Purchase and Sale Agreement.)

       373.    The same day, Sinostar then sold that same ORRI interest to Global Texas for

$150,000. Tubeileh signed on behalf of Sinostar; Mader signed for Global Oklahoma.



                                                 69
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                 Page 70 of 101 PageID 70



       374.    In early 2023, Tubeileh also instructed Land to expedite $680,400 in ORRI

payments related to the Blackhorn project to him.

              B.        Global AG Institutes an Audit and Tubeileh Resigns

       375.    In the spring of 2023, the Supervisory Board of Global AG learned that several

prior representations, made by Tubeileh to Mader and passed to the Supervisory Board regarding

various Global U.S. Subsidiary investments were unsubstantiated or intentionally incomplete or

inaccurate.

       376.    As a result, Global AG instituted an audit of the Global U.S. Subsidiaries.

       377.    Tubeileh staunchly obstructed the audit, denying access to the Global U.S.

Subsidiaries’ documents and offices.

       378.    In a May 9, 2023 email, Tubeileh admitted that he “instructed the IT consultant to

ignore” the audit request and the directive that Global Oklahoma create a backup of its email server

to preserve evidence.

       379.    On May 10, 2023, Global AG emailed Tubeileh to confront him for: (1) seeking to

receive a $1.35 million windfall from a potential Wyoming mineral purchase in April 2023;

(2) seeking to receive a commission based on this Wyoming deal even after it fell through; and

(3) receiving a $1.5 million windfall from Global Texas in connection with Global Texas’s $2.2

million investment in mineral deals in Kentucky.

       380.    On May 11, 2023, in a letter erroneously dated “March 11th 2023,” Tubeileh

“resign[ed] from” his positions at the helm of Global Oklahoma and Global Texas. (Exhibit 35,

5/11/2023 Resignation Letter.)

       381.    That evening, Tubeileh emailed Huddleston, Elliot Doyle, and his tax advisors from

his Global AG email account to instruct them that any future email correspondence to him should

be directed to his Sinostar email address, bt@sinostar-investments.com.
                                                70
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                Page 71 of 101 PageID 71



       382.    On May 13, 2023, Tubeileh sent an email from his Sinostar email address to his

Global AG email address with the subject “Hi” and no body text.

       383.    On May 13, 2023, Tubeileh sent another email to his Global AG email address from

the Gmail account starto8899@gmail.com, a personal email account Tubeileh maintained

associated with one of his pseudonyms, “Hurst Haberico,” with the subject “hi” and no body text.

       384.    In an effort to hide his illegal activities, Tubeileh then wiped the contents of his

company iPhone, which he never connected to the Global U.S. Subsidiaries’ servers.

       385.    Mader resigned all his positions with the Global U.S. Subsidiaries and Global AG

at the end of September 2023.

       386.    On December 20, 2023, Mader emailed Tubeileh at his Sinostar and

starto8899@gmail.com email addresses and indicated that he would provide Tubeileh positive

testimony in proceedings conducted against him in exchange for €50,000.

       387.    The Global U.S. Subsidiaries’ investigation into the full extent of Tubeileh’s

various schemes remains ongoing.

                                          CONCLUSION

       388.    In sum, over the course of nearly seven years, Tubeileh and others defrauded the

Global U.S. Subsidiaries of millions in monetary assets and millions more in oil and gas interests

in the United States. Tubeileh personally enriched himself and his family and, along the way,

helped his co-conspirators—Huddleston, Mader, Barnett, Sinostar, Jamalabox, and others—enrich

themselves as well.

       389.    Through the Sham Advisory Fees Scheme, Jamalabox, Sinostar, CA Portfolio

Management, CA Funds Group, Huddleston, and Huddleston’s alter ego companies reaped

millions or the benefit of millions, procured by fraud and laundered among the co-conspirators,

from the Global U.S. Subsidiaries.
                                                71
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                   Page 72 of 101 PageID 72



       390.    Through the Self-Dealing Loan Scheme, Sinostar and Tubeileh—using money that

rightfully belonged to the Global U.S. Subsidiaries in the first place—profited off unnecessary and

high-interest loans to the Global U.S. Subsidiaries.

       391.    Through the Commissions Scheme, Tubeileh and Huddleston blatantly and directly

enriched themselves at the expense of the Global U.S. Subsidiaries.

       392.    Through the Overriding Royalty Scheme, Tubeileh enriched himself through the

“sale” of fictitious ORRIs that neither he, nor the Global U.S. Subsidiaries ever possessed. Instead,

Tubeileh’s corruption of Mader allowed Tubeileh to steal over $7 million in cash via the Blackhorn

project.

       393.    Through the Carried Working Interest Scheme, Tubeileh and Huddleston, with

Mader’s help, used the Blackhorn project to enrich themselves with oil and gas rights that belonged

to the Global U.S. Subsidiaries and for which the Global U.S. Subsidiaries paid.

       394.    At bottom, the Global U. S. Subsidiaries have been substantially injured in their

business and property.

                                              COUNT 1
      VIOLATION OF THE RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                                18 U.S.C. § 1962(C)
                               (AGAINST TUBEILEH)

       395.    Plaintiffs incorporate the above allegations by reference as if fully rewritten here.

       396.    This claim arises under Title 18, United States Code Section 1962(c), which makes

it “unlawful for any person employed by or associated with any enterprise engaged in, or the

activities of which affect, interstate or foreign commerce, to conduct or participate, directly or

indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering activity … .”




                                                  72
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                   Page 73 of 101 PageID 73



       397.    At all relevant times, Tubeileh was a “person” within the meaning of Title 18,

United States Code Section 1961(3), as he was “capable of holding a legal or beneficial interest in

property.”

       398.    At all relevant times, Tubeileh operated Global Oil & Gas Texas, LLC as an

“enterprise” within the meaning of Title 18, United States Code Section 1961(4).

       399.    At all relevant times, Tubeileh operated Global Oil & Gas Fields Oklahoma, LLC

as an “enterprise” within the meaning of Title 18, United States Code Section 1961(4).

       400.    Together, Global Oklahoma and Global Texas constitute the “Global Enterprise”

run by Tubeileh.

       401.    The Global Enterprise—operated by Tubeileh—conducted and participated in the

affairs of the (1) Sham Advisory Fee Scheme; (2) Self-Dealing Loan Scheme; (3) Commissions

Scheme; (4) Immigration Fraud Scheme; (5) ORRI Scheme; and (6) Carried Working Interest

Scheme, through a pattern of racketeering activity, as defined by Title 18, United States Code

Section 1961(5), consisting of many and repeated instances of: wire fraud (18 U.S.C. § 1343), mail

fraud (18 U.S.C. § 1341), money laundering (18 U.S.C. § 1956), the use of fraudulently obtained

funds (18 U.S.C. § 1957), fraud on the United States (18 U.S.C. § 371), and fraud related to

bankruptcy proceedings (18 U.S.C. § 152), all in violation of Title 18, United States Code

Section 1962(c).

       402.    Tubeileh, along with his agents and co-conspirators, conducted the affairs of the

Global Enterprise and had the common purpose to secure benefits and profit by obtaining access

to capital and other property rights that rightfully belong to others and placing it to their own uses

through wire fraud, bank fraud, money laundering, fraud related to bankruptcy proceedings, and

commercial bribery.



                                                 73
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                 Page 74 of 101 PageID 74



        403.   The Global Enterprise engaged in, and its activities affected, interstate and foreign

commerce by, among other things, committing wire and mail fraud, unlawfully transferring

money, procuring and transferring fraudulently obtained money and other interests that hold

monetary value, engaging in bribery, and committing fraud on the United States and the United

States Bankruptcy Court.

        404.   Tubeileh committed or aided and abetted the commission of at least 166 discrete

predicate acts of racketeering activity. The multiple acts of racketeering activity he committed

and/or conspired to commit, or aided and abetted in the commission of, were related to each other,

extended for several years and, had the Supervisory Board not instituted the audit, posed a threat

of further continuing fraudulent activity, and therefore constitutes a “pattern of racketeering

activity.”

        405.   Tubeileh’s predicate acts of racketeering under Title 18, United States Code Section

1961(1) include, but are not limited to:

                   a. Racketeering Act 1 (Wire Fraud, Money Laundering): On or about

                       July 7, 2017, Tubeileh caused the Global U.S. Subsidiaries to wire

                       $1.2 million to PostOak. On information and belief, PostOak then, under

                       fraudulent pretenses and instruction from Tubeileh, transferred $100,000 of

                       those funds to Jamalabox for non-existent consulting fees. 18 U.S.C.

                       § 1343. Jamalabox then transferred those funds to Huddleston or Sinostar,

                       the latter of which is controlled by Tubeileh and Barnett. All these parties

                       accepted these funds without disclosing the fraudulent nature of the funds

                       or transfer. 18 U.S.C. § 1343; 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i);

                       18 U.S.C. § 1957(a).



                                                74
Case 4:24-cv-00667-O Document 1 Filed 07/17/24           Page 75 of 101 PageID 75



            b. Racketeering Act 2 (Wire Fraud, Money Laundering): On or about

               October 10, 2017, Tubeileh caused the Global U.S. Subsidiaries to wire

               $1.36 million to PostOak. On information and belief, PostOak then, under

               fraudulent pretenses and instruction from Tubeileh, transferred $120,000 of

               those funds to Jamalabox for non-existent consulting fees. 18 U.S.C.

               § 1343. Jamalabox then laundered those funds to Huddleston or Sinostar,

               the latter of which is controlled by Tubeileh and Barnett. All these parties

               accepted these funds without disclosing the fraudulent nature of the funds

               or transfer. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C.

               § 1957(a).

            c. Racketeering Act 3 (Wire Fraud, Money Laundering): On or about

               January 17, 2018, Tubeileh caused the Global U.S. Subsidiaries to, under

               fraudulent pretenses, wire $858,000 to an account controlled by Jamalabox

               with an understanding that the funds were for advisory fees. This statement

               was false and made by wire. 18 U.S.C. § 1343. Jamalabox, controlled by

               Tubeileh and Barnett, accepted these funds without disclosing that it

               provided no such services to the Global U.S. Subsidiaries. Those proceeds,

               procured by fraud, were laundered to Sinostar on January 19, 2018, in the

               amount of $841,998. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C.

               § 1957(a).

            d. Racketeering Act 4 (Wire Fraud, Money Laundering): On or about

               March 23, 2018, Tubeileh caused the Global U.S. Subsidiaries to, under

               fraudulent pretenses, wire $43,750 to an account controlled by Jamalabox

               with an understanding that the funds were for advisory fees. This was a false

                                        75
Case 4:24-cv-00667-O Document 1 Filed 07/17/24           Page 76 of 101 PageID 76



               statement provided by wire. 18 U.S.C. § 1343. Jamalabox, controlled by

               Tubeileh and Barnett, accepted these funds without disclosing that it

               provided no such services to the Global U.S. Subsidiaries. Those proceeds,

               procured by fraud, were laundered to Sinostar on March 26, 2018,

               evidenced by the receipt of a wire from “JAM001” for $42,750. 18 U.S.C.

               §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C. § 1957(a).

            e. Racketeering Act 5 (Wire Fraud): On or about March 28, 2018, Tubeileh

               caused the Global U.S. Subsidiaries to, under fraudulent pretenses, wire

               $23,500 to an account controlled by Sinostar with an understanding that the

               funds were for advisory fees, which was a false statement made by wire. 18

               U.S.C. § 1343. Sinostar, controlled by Tubeileh and Barnett, accepted these

               funds without disclosing that it provided no such services to the Global U.S.

               Subsidiaries. 18 U.S.C. § 1343.

            f. Racketeering Act 6 (Mail or Wire Fraud, Money Laundering): On or

               about March 30, 2018, Tubeileh caused the Global U.S. Subsidiaries to,

               under fraudulent pretenses, wire $395,000 to an account controlled by

               Jamalabox with an understanding that the funds were for consulting fees.

               This statement was false and made by wire. 18 U.S.C. § 1343. Jamalabox,

               controlled by Tubeileh and Barnett, accepted these funds without disclosing

               that it provided no such services without disclosing it to the Global U.S.

               Subsidiaries. 18 U.S.C. § 1341; 18 U.S.C. § 1343. Those proceeds, procured

               by fraud, were laundered to Sinostar on April 2, 2018, evidenced by the

               receipt   of   a   wire   from    “Jam001”    for   $385,000.   18    U.S.C.

               §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C. § 1957(a).

                                         76
Case 4:24-cv-00667-O Document 1 Filed 07/17/24           Page 77 of 101 PageID 77



            g. Racketeering Act 7 (Mail or Wire Fraud, Money Laundering): On or

               about April 24, 2018, Tubeileh caused the Global U.S. Subsidiaries to,

               under fraudulent pretenses, wire $500,000 to an account controlled by

               Jamalabox with an understanding that the funds were for consulting fees.

               This statement was false and made by wire. 18 U.S.C. § 1343. Jamalabox,

               controlled by Tubeileh and Barnett, accepted these funds without disclosing

               that it provided no such services without disclosing it to the Global U.S.

               Subsidiaries. 18 U.S.C. § 1341; 18 U.S.C. § 1343. Those proceeds, procured

               by fraud, were laundered to Sinostar on April 25, 2018, evidenced by the

               receipt   of a   wire from      “JAM001”     for   $490,000.   18   U.S.C.

               §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C. § 1957(a).

            h. Racketeering Act 8 (Mail or Wire Fraud, Money Laundering): On or

               about June 1, 2018, Tubeileh caused the Global U.S. Subsidiaries to, under

               fraudulent pretenses, wire $373,000 to an account controlled by Jamalabox

               with an understanding that the funds were for consulting fees. This

               statement was false and made by wire. 18 U.S.C. § 1343. Jamalabox,

               controlled by Tubeileh and Barnett, accepted these funds without disclosing

               that it provided no such services without disclosing it to the Global U.S.

               Subsidiaries. Those proceeds, procured by fraud, were laundered to Sinostar

               on June 4, 2018, evidenced by the receipt of a wire from “JAM001” for

               $365,000. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C. § 1957(a).

            i. Racketeering Act 9 (Mail or Wire Fraud, Money Laundering): On or

               about July 31, 2018, Tubeileh caused the Global U.S. Subsidiaries to, under

               fraudulent pretenses, wire $1,100,000 to an account controlled by

                                        77
Case 4:24-cv-00667-O Document 1 Filed 07/17/24          Page 78 of 101 PageID 78



               Jamalabox with an understanding that the funds were for consulting fees.

               This statement was false and made by wire. 18 U.S.C. § 1343. Jamalabox,

               controlled by Tubeileh and Barnett, accepted these funds without disclosing

               that it provided no such services without disclosing it to the Global U.S.

               Subsidiaries. Those proceeds, procured by fraud, were laundered to Sinostar

               on August 1, 2018, evidenced by the receipt of a wire from “JAM001” for

               $1,100,000. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C.

               § 1957(a).

            j. Racketeering Act 10 (Mail or Wire Fraud, Money Laundering): On or

               about August 1, 2018, Tubeileh caused the Global U.S. Subsidiaries to,

               under fraudulent pretenses, wire $300,319.76 to an account controlled by

               Jamalabox with an understanding that the funds were for consulting fees.

               This statement was false and made by wire. 18 U.S.C. § 1343. Jamalabox,

               controlled by Tubeileh and Barnett, accepted these funds without disclosing

               that it provided no such services without disclosing it to the Global U.S.

               Subsidiaries. Those proceeds, procured by fraud, were laundered to Sinostar

               on August 2, 2018, evidenced by the receipt of a wire from “JAM001” for

               $260,319.79. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C.

               § 1957(a).

            k. Racketeering Act 11 (Mail or Wire Fraud, Money Laundering): On or

               about September 20, 2018, Tubeileh caused the Global U.S. Subsidiaries to,

               under fraudulent pretenses, wire $500,000 to an account controlled by

               Jamalabox with an understanding that the funds were for consulting fees.

               This statement was false and made by wire. 18 U.S.C. § 1343. Jamalabox,

                                       78
Case 4:24-cv-00667-O Document 1 Filed 07/17/24            Page 79 of 101 PageID 79



               controlled by Tubeileh and Barnett, accepted these funds without disclosing

               that it provided no such services without disclosing it to the Global U.S.

               Subsidiaries. Those proceeds, procured by fraud, were laundered to Sinostar

               on September 21, 2018, evidenced by the receipt of a wire from “JAM001”

               for $490,000. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C.

               § 1957(a).

            l. Racketeering Acts 12 and 13 (Mail or Wire Fraud, Money

               Laundering): On or about January 30, 2019, and January 31, 2019,

               Tubeileh caused the Global U.S. Subsidiaries to, under fraudulent pretenses,

               wire a total of $500,000 to an account controlled by Jamalabox with an

               understanding that the funds were for consulting fees. This statement was

               false and made by wire. 18 U.S.C. § 1343. Jamalabox, controlled by

               Tubeileh and Barnett, accepted these funds without disclosing that it

               provided no such services without disclosing it to the Global U.S.

               Subsidiaries. Those proceeds, procured by fraud, were, on information and

               belief, laundered to Sinostar. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18

               U.S.C. § 1957(a).

            m. Racketeering Act 14 (Mail or Wire Fraud, Money Laundering): On or

               about January 17, 2018, Tubeileh caused the Global U.S. Subsidiaries to,

               under fraudulent pretenses, wire $450,000 to an account controlled by CA

               Portfolio Management with an understanding that the funds were for

               consulting fees, which was false. 18 U.S.C. § 1341; 18 U.S.C. § 1343. CA

               Portfolio Management accepted these funds without disclosing that it

               provided no such services to the Global U.S. Subsidiaries. On information

                                        79
Case 4:24-cv-00667-O Document 1 Filed 07/17/24          Page 80 of 101 PageID 80



               and belief, those proceeds, procured by fraud, were laundered to Huddleston

               or one of his associated companies. 18 U.S.C. §§ 1956(a)(1)(A)(i),

               (a)(1)(B)(i); 18 U.S.C. § 1957(a). The purpose of laundering the money

               through CA Portfolio Management was to defraud the United States

               Bankruptcy Court related to Huddleston’s bankruptcy proceedings. 18

               U.S.C. § 152.

            n. Racketeering Act 15 (Mail or Wire Fraud, Money Laundering): On or

               about April 25, 2018, Tubeileh caused the Global U.S. Subsidiaries to,

               under fraudulent pretenses, wire $150,000 to an account controlled by CA

               Portfolio Management with an understanding that the funds were for

               consulting fees, which was false. 18 U.S.C. § 1341; 18 U.S.C. § 1343. CA

               Portfolio Management accepted these funds without disclosing that it

               provided no such services to the Global U.S. Subsidiaries. 18 U.S.C.

               § 1341; 18 U.S.C. § 1343. On information and belief, those proceeds,

               procured by fraud, were laundered to Huddleston or one of his associated

               companies. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C.

               § 1957(a). The purpose of laundering the money through CA Portfolio

               Management was to defraud the United States Bankruptcy Court related to

               Huddleston’s bankruptcy proceedings. 18 U.S.C. § 152.

            o. Racketeering Act 16 (Mail or Wire Fraud, Money Laundering): On or

               about June 1, 2018, Tubeileh caused the Global U.S. Subsidiaries to, under

               fraudulent pretenses, wire $175,000 to an account controlled by CA

               Portfolio Management with an understanding that the funds were for

               consulting fees, which was false. 18 U.S.C. § 1341; 18 U.S.C. § 1343. CA

                                        80
Case 4:24-cv-00667-O Document 1 Filed 07/17/24          Page 81 of 101 PageID 81



               Portfolio Management accepted these funds without disclosing that it

               provided no such services to the Global U.S. Subsidiaries. On information

               and belief, those proceeds, procured by fraud, were laundered to Huddleston

               or one of his associated companies. 18 U.S.C. §§ 1956(a)(1)(A)(i),

               (a)(1)(B)(i); 18 U.S.C. § 1957(a). The purpose of laundering the money

               through CA Portfolio Management was to defraud the United States

               Bankruptcy Court related to Huddleston’s bankruptcy proceedings. 18

               U.S.C. § 152.

            p. Racketeering Act 17 (Mail or Wire Fraud, Money Laundering): On or

               about July 31, 2018, Tubeileh caused the Global U.S. Subsidiaries to, under

               fraudulent pretenses, wire $500,000 to an account controlled by CA Funds

               Group with an understanding that the funds were for consulting fees, which

               was false. 18 U.S.C. § 1341; 18 U.S.C. § 1343. CA Fund Group accepted

               these funds without disclosing that it provided no such services to the

               Global U.S. Subsidiaries. On information and belief, those proceeds,

               procured by fraud, were laundered to Huddleston or one of his associated

               companies. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C.

               § 1957(a). The purpose of laundering the money through CA Funds Group

               was to defraud the United States Bankruptcy Court related to Huddleston’s

               bankruptcy proceedings. 18 U.S.C. § 152.

            q. Racketeering Act 18 (Mail or Wire Fraud, Money Laundering): On or

               about September 14, 2018, Tubeileh caused the Global U.S. Subsidiaries to,

               under fraudulent pretenses, wire $150,000 to an account controlled by CA

               Funds Group with an understanding that the funds were for consulting fees,

                                        81
Case 4:24-cv-00667-O Document 1 Filed 07/17/24           Page 82 of 101 PageID 82



               which was false. 18 U.S.C. § 1341; 18 U.S.C. § 1343. CA Funds Group

               accepted these funds without disclosing that it provided no such services to

               the Global U.S. Subsidiaries. On information and belief, those proceeds,

               procured by fraud, were transferred to Huddleston or one of his associated

               companies. 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C.

               § 1957(a). The purpose of laundering the money through CA Funds Group

               was to defraud the United States Bankruptcy Court related to Huddleston’s

               bankruptcy proceedings. 18 U.S.C. § 152.

            r. Racketeering Act 19 (Mail or Wire Fraud, Money Laundering): On or

               about February 22, 2018, under fraudulent pretenses, Sinostar loaned the

               Global U.S. Subsidiaries $1,500,000.00 using funds procured by fraud. In

               this capacity, Sinostar was acting as a “financial institution” under

               31 U.S.C. § 5312(a). This loan was fraudulent in its own right because it

               was based on misinformation about the true relationship between Tubeileh

               and Sinostar, in violation of 18 U.S.C. § 1341, 18 U.S.C. § 1343, and further

               constitutes money laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i),

               (a)(1)(B)(i); 18 U.S.C. § 1957(a).

            s. Racketeering Act 20 (Mail or Wire Fraud, Money Laundering): On or

               about October 29, 2018, under fraudulent pretenses Sinostar loaned the

               Global U.S. Subsidiaries $2,000,000.00, using funds procured by fraud. In

               this capacity, Sinostar was acting as a “financial institution” under 31

               U.S.C. § 5312(a). This loan was fraudulent in its own right because it was

               based on misinformation about the true relationship between Tubeileh and

               Sinostar, in violation of 18 U.S.C. § 1341, 18 U.S.C. § 1343, and further

                                        82
Case 4:24-cv-00667-O Document 1 Filed 07/17/24            Page 83 of 101 PageID 83



               constitutes money laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i),

               (a)(1)(B)(i); 18 U.S.C. § 1957(a).

            t. Racketeering Act 21 (Mail or Wire Fraud, Money Laundering): On or

               about February 12, 2019, as amended, under fraudulent pretenses Sinostar

               loaned the Global U.S. Subsidiaries $2,500,000.00 using funds procured by

               fraud. In this capacity, Sinostar was acting as a “financial institution” under

               31 U.S.C. § 5312(a). This loan was fraudulent in its own right because it

               was based on misinformation about the true relationship between Tubeileh

               and Sinostar, in violation of 18 U.S.C. § 1341, 18 U.S.C. § 1343, and further

               constitutes money laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i),

               (a)(1)(B)(i); 18 U.S.C. § 1957(a).

            u. Racketeering Act 22 (Mail or Wire Fraud, Money Laundering): On or

               about February 21, 2020, as amended, under fraudulent pretenses Sinostar

               loaned the Global U.S. Subsidiaries $2,250,000.00, using funds procured

               by fraud. In this capacity, Sinostar was acting as a “financial institution”

               under 31 U.S.C. § 5312(a). This loan was fraudulent in its own right because

               it was based on misinformation about the true relationship between

               Tubeileh and Sinostar, in violation of 18 U.S.C. § 1341, 18 U.S.C. § 1343,

               and further constitutes money laundering, in violation of 18 U.S.C.

               §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C. § 1957(a).

            v. Racketeering Act 23 (Mail or Wire Fraud, Money Laundering): On or

               about June 18, 2021, Sinostar loaned the Global U.S. Subsidiaries

               $1,824,327.00, using funds procured by fraud. In this capacity, Sinostar was

               acting as a “financial institution” under 31 U.S.C. § 5312(a). This loan was

                                         83
Case 4:24-cv-00667-O Document 1 Filed 07/17/24           Page 84 of 101 PageID 84



               fraudulent in its own right because it was based on misinformation about

               the true relationship between Tubeileh and Sinostar, in violation of 18

               U.S.C. § 1341, 18 U.S.C. § 1343, and further constitutes money laundering,

               in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C.

               § 1957(a).

            w. Racketeering Acts 24 and 25 (Mail or Wire Fraud, Money

               Laundering): On or about February and March 2023, as amended, under

               fraudulent pretenses, Sinostar loaned the Global U.S. Subsidiaries a total of

               $2,266,957.84, using funds procured by fraud. In this capacity, Sinostar was

               acting as a “financial institution” under 31 U.S.C. § 5312(a). This loan was

               fraudulent in its own right because it was based on misinformation about

               the true relationship between Tubeileh and Sinostar, in violation of 18

               U.S.C. §§ 1341, 18 U.S.C. § 1343 and further constitutes money laundering,

               in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C.

               § 1957(a).

            x. Racketeering Acts 26 and 27 (Mail or Wire Fraud, Money

               Laundering): On or about February and March 2023, as amended, under

               fraudulent pretenses, Sinostar loaned the Global U.S. Subsidiaries a total of

               $2,266,957.84, using funds procured by fraud. In this capacity, Sinostar was

               acting as a “financial institution” under 31 U.S.C. § 5312(a). This loan was

               fraudulent in its own right because it was based on misinformation about

               the true relationship between Tubeileh and Sinostar, in violation of 18

               U.S.C. § 1341, 18 U.S.C. § 1343, and further constitutes money laundering,



                                        84
Case 4:24-cv-00667-O Document 1 Filed 07/17/24          Page 85 of 101 PageID 85



               in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(1)(B)(i); 18 U.S.C.

               § 1957(a).

            y. Racketeering Acts 28 through 72 (Mail or Wire Fraud): Each and every

               transfer of funds from the Global U.S. Subsidiaries to Tubeileh for his

               purported ORRIs related to the Blackhorn project under the Blackhorn

               PSA—from April 2021 through May 2023—was fraudulent, as the

               Blackhorn PSA was procured by fraud and rested on the fraudulent premise

               that Tubeileh had any ownership interest in the ORRIs. Each and every

               transfer of funds was effectuated through the means of mail or wire in

               interstate or foreign commerce, in violation of 18 U.S.C. § 1341 and

               18 U.S.C. § 1343.

            z. Racketeering Acts 73 through 117 (Mail or Wire Fraud): Each and every

               transfer of Carried Working Interest to Huddleston related to the Blackhorn

               project—from April 2021 through May 2023—was procured by fraud or

               fraudulent pretenses from the Global U.S. Subsidiaries, and effectuated

               through the means of mail or wire in interstate or foreign commerce, in

               violation of 18 U.S.C. § 1341 and 18 U.S.C. § 1343.

            aa. Racketeering Acts 118 through 162 (Mail or Wire Fraud): Each and

               every transfer of Carried Working Interest to Tubeileh related to the

               Blackhorn project—from April 2021 through May 2023—was procured by

               fraud or fraudulent pretenses from the Global U.S. Subsidiaries, and

               effectuated through the means of wire in interstate or foreign commerce, in

               violation of 18 U.S.C. § 1341 and 18 U.S.C. § 1343.



                                        85
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 86 of 101 PageID 86



                   bb. Racketeering Acts 163 through 167 (Mail or Wire Fraud): Each and

                       every commission payment to Tubeileh related to the Commissions Scheme

                       or otherwise discussed was procured by fraud or fraudulent pretenses from

                       the Global U.S. Subsidiaries, and effectuated through the means of wire in

                       interstate or foreign commerce, in violation of 18 U.S.C. § 1341 and 18

                       U.S.C. § 1343.

                   cc. Racketeering Acts 168 through 174 (Mail or Wire Fraud): Each and

                       every commission payment to Huddleston, Louisiana Offshore, or BDHL

                       related to the Commissions Scheme or otherwise discussed was procured

                       by fraud or fraudulent pretenses from the Global U.S. Subsidiaries, and

                       effectuated through the means of wire in interstate or foreign commerce, in

                       violation of 18 U.S.C. § 1341 and 18 U.S.C. § 1343.

                   dd. Racketeering Act 169 (Mail or Wire Fraud, Fraud on the United

                       States): Tubeileh, in executing his 2019 employment agreement, which was

                       procured by fraud, unlawfully and knowingly and applied for procured an

                       E-2 Work Visa using documents and other evidence contrary to law. 18

                       U.S.C. § 1343; 18 U.S.C. § 1425(a).

       406.    As discussed above, as a direct and proximate result of Tubeileh’s racketeering

activities and violations of 18 U.S.C. § 1962(c), the Plaintiffs have been injured in their business

and property and are entitled to damages from Tubeileh.

                                     COUNT 2
      VIOLATION OF THE RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                                18 U.S.C. § 1962(C)
              (AGAINST TUBEILEH, SINOSTAR, JAMALABOX, AND BARNETT)

       407.    Plaintiffs incorporate the above allegations by reference as if fully rewritten here.

                                                86
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                   Page 87 of 101 PageID 87



       408.     This claim arises under Title 18, United States Code Section 1962(c), which makes

it “unlawful for any person employed by or associated with any enterprise engaged in, or the

activities of which affect, interstate or foreign commerce, to conduct or participate, directly or

indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering activity … .”

       409.     At all relevant times, Tubeileh was a “person” within the meaning of Title 18,

United States Code Section 1961(3), as he was “capable of holding a legal or beneficial interest in

property.”

       410.     At all relevant times, Barnett was a “person” within the meaning of Title 18, United

States Code Section 1961(3), as he was “capable of holding a legal or beneficial interest in

property.”

       411.     At all relevant times, Jamalabox was a “person” within the meaning of Title 18,

United States Code Section 1961(3), as it was “capable of holding a legal or beneficial interest in

property.”

       412.     At all relevant times, Sinostar was a “person” within the meaning of Title 18,

United States Code Section 1961(3), as it was “capable of holding a legal or beneficial interest in

property.”

       413.     At all relevant times, Tubeileh, Barnett, Sinostar, and Jamalabox were an

“association-in-fact enterprise” (the “AIF Enterprise”).

       414.     Tubeileh’s, Barnett’s, Sinostar’s, and Jamalabox’s predicate acts of racketeering

within the meaning of Title 18, United States Code Section 1961(1) include, but are not limited to

the racketeering acts discussed above (see supra ¶¶ 405a–l, 405r–x), which are incorporated here

by reference.

       415.     As discussed above, as a direct and proximate result of Tubeileh’s, Barnett’s,

Sinostar’s, and Jamalabox’s racketeering activities and violations of 18 U.S.C. § 1962(c), Plaintiffs

                                                  87
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 88 of 101 PageID 88



have been injured in their business and property and entitled to damages from Tubeileh, Barnett,

Sinostar, and Jamalabox, jointly and severally.

                                        COUNT 3
                                   RICO CONSPIRACY
                                   18 U.S.C. § 1962(D)
                  (AGAINST HUDDLESTON, BDHL, AND LOUISIANA OFFSHORE)

       416.    Plaintiffs incorporate the above allegations by reference as if fully rewritten here.

       417.    This claim alleges a violation of Title 18, United States Code Section 1962(d),

which makes it “unlawful for any person to conspire to violate any of the provisions of subsection

(a), (b), or (c) of [18 U.S.C. § 1962].”

       418.    Huddleston—and alter ego his companies Louisiana Offshore or BDHL—

conspired with Tubeileh (Count I) or Tubeileh, Barnett, Jamalabox, and Sinostar (Count II) to

violate 18 U.S.C. §§ 1962(a) and (c), as described herein.

       419.    Louisiana Offshore is wholly controlled by Huddleston and is his alter ego.

       420.    BDHL is wholly controlled by Huddleston and is his alter ego.

       421.    Huddleston—and his alter ego companies Louisiana Offshore or BDHL—has

participated as a co-conspirator with Tubeileh (Count I) or Tubeileh, Barnett, Jamalabox, and

Sinostar (Count II) and has performed those acts in furtherance of the conspiracy.

       422.    Huddleston—and his alter ego companies Louisiana Offshore or BDHL—and

Tubeileh (Count I) or Tubeileh, Barnett, Jamalabox, and Sinostar (Count II) agreed, whether

expressly or tacitly, that some person would commit at least two of the predicate acts set forth

above (see supra ¶¶ 405m–q, 405z, 405cc) in the course of participating in the affairs or operations

of the Global Enterprise or AIF Enterprise, in violation of 18 U.S.C. § 1962(c).

       423.    Huddleston—and his alter ego companies Louisiana Offshore or BDHL—and

Tubeileh (Count I) or Tubeileh, Barnett, Jamalabox, and Sinostar (Count II) agreed, whether

                                                  88
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 89 of 101 PageID 89



expressly or tacitly, that some person would commit at least two of the predicate acts set forth

above in the course of using the proceeds of the conduct alleged above to use the profits of the

Commission Scheme and the Carried Working Interest Scheme, in violation of 18 U.S.C.

§ 1962(a).

       424.    Huddleston—and his alter ego companies Louisiana Offshore or BDHL—was

aware of the essential scope and nature of, and intended to participate in, the Carried Working

Interest Scheme and the Commission Scheme to corruptly operate the Global Enterprise or the

AIF Enterprise to the benefit of Tubeileh (Count I) or Tubeileh, Barnett, Jamalabox, and Sinostar

(Count II) and to use the proceeds of the conduct alleged to further invest in the Carried Working

Interest Scheme and the Commission Scheme.

       425.    There was no plausible lawful rationale for the manner in which Huddleston—and

his alter ego companies Louisiana Offshore or BDHL—and his co-conspirators participated in the

affairs of the Carried Working Interest Scheme and the Commission Scheme and the proceeds of

the conduct alleged above to further those schemes.

       426.    As discussed above, Plaintiffs have been injured in their business and property as a

direct and proximate result of the unlawful agreement between Huddleston—and his alter ego

companies Louisiana Offshore or BDHL—and the Global Enterprise or the AIF Enterprise.

                                            COUNT 4
                                       RICO CONSPIRACY
                                       18 U.S.C. § 1962(D)
                                    (AGAINST DETLEF MADER)

       427.    Plaintiffs incorporate the above allegations by reference as if fully rewritten here.

       428.    This claim alleges a violation of Title 18, United States Code Section 1962(d),

which makes it “unlawful for any person to conspire to violate any of the provisions of subsection

(a), (b), or (c) of [18 U.S.C. § 1962].”

                                                89
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                    Page 90 of 101 PageID 90



       429.    Mader conspired with Tubeileh (Count I) or Tubeileh, Barnett, Jamalabox, and

Sinostar (Count II) to violate 18 U.S.C. § 1962(a) and (c), as described herein.

       430.    Mader has participated as a co-conspirator with Tubeileh (Count I) or Tubeileh,

Barnett, Jamalabox, and Sinostar (Count II) in the above-listed offenses (see supra ¶¶ 405a–dd)

and has performed those acts in furtherance of the conspiracy.

       431.    Mader and Tubeileh (Count I) or Tubeileh, Barnett, Jamalabox, and Sinostar (Count

II) agreed, whether expressly or tacitly, that some person would commit at least two of the

predicate acts set forth above in the course of participating in the affairs or operations of the Global

Enterprise or AIF Enterprise, in violation of 18 U.S.C. § 1962(c).

       432.    Mader and Tubeileh (Count I) or Tubeileh, Barnett, Jamalabox, and Sinostar (Count

II) agreed, whether expressly or tacitly, that some person would commit at least two of the

predicate acts set forth above in the course of using the proceeds of the conduct alleged above to

use the profits of the Sham Advisory Fee Scheme, Self-Dealing Loan Scheme, the Commissions

Scheme, the Immigration Fraud Scheme, and the Overriding Royalty Interest Scheme, in violation

of 18 U.S.C. § 1962(a).

       433.    Mader was aware of the essential scope and nature of and intended to participate in

the Sham Advisory Fee Scheme, Self-Dealing Loan Scheme, the Commissions Scheme, the

Immigration Fraud Scheme, and the Overriding Royalty Interest Scheme to corruptly operate the

Global Enterprise to the benefit of Tubeileh (Count I) or Tubeileh, Barnett, Jamalabox, and

Sinostar (Count II) and to use the proceeds of the conduct alleged to further invest in those

schemes.

       434.    There was no plausible lawful rationale for the manner in which Mader and his co-

conspirators participated in the affairs of the Sham Advisory Fee Scheme, Self-Dealing Loan



                                                  90
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                   Page 91 of 101 PageID 91



Scheme, the Commissions Scheme, the Immigration Fraud Scheme, and the Overriding Royalty

Interest Scheme or used the proceeds of the conduct alleged above to invest in the schemes.

       435.    As discussed above, Plaintiffs have been injured in their business and property as a

direct and proximate result of the unlawful agreement between Mader and the Global Enterprise

or the AIF Enterprise.

                                            COUNT 5
                                       RICO CONSPIRACY
                                       18 U.S.C. § 1962(D)
                                    (AGAINST JOHN BARNETT)

       436.    Plaintiffs incorporate the above allegations by reference as if fully rewritten here.

       437.    This claim alleges a violation of Title 18, United States Code Section 1962(d),

which makes it “unlawful for any person to conspire to violate any of the provisions of subsection

(a), (b), or (c) of [18 U.S.C. § 1962].”

       438.    Barnett conspired with Tubeileh (Count I) to violate 18 U.S.C. § 1962(a) and (c),

as described herein.

       439.    Barnett has participated as a co-conspirator with Tubeileh (Count I) in the above-

listed offenses (see supra ¶¶ 405a–l, 405r–x), and has performed those acts in furtherance of the

conspiracy.

       440.    Barnett and Tubeileh agreed, whether expressly or tacitly, that some person would

commit at least two of the predicate acts set forth above in the course of participating in the affairs

or operations of the Global Enterprise, in violation of 18 U.S.C. § 1962(c).

       441.    Barnett and Tubeileh agreed, whether expressly or tacitly, that some person would

commit at least two of the predicate acts set forth above in the course of using the proceeds of the

conduct alleged above to use the profits of the Sham Advisory Fee Scheme and the Self-Dealing

Loan Scheme, in violation of 18 U.S.C. § 1962(a).

                                                  91
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 92 of 101 PageID 92



       442.    Barnett was aware of the essential scope and nature of and intended to participate

in the Sham Advisory Fee Scheme and the Self-Dealing Loan Scheme to corruptly operate the

Global Enterprise to the benefit of Tubeileh and to use the proceeds of the conduct alleged to

further invest in the Sham Advisory Fee Scheme and the Self-Dealing Loan Scheme.

       443.    There was no plausible lawful rationale for the manner in which Barnett and his co-

conspirators participated in the affairs of the Sham Advisory Fee Scheme and the Self-Dealing

Loan Scheme or used the proceeds of the conduct alleged above to invest in the Sham Advisory

Fee Scheme and the Self-Dealing Loan Scheme.

       444.    As discussed above, Plaintiffs have been injured in their business and property as a

direct and proximate result of the unlawful agreement between Barnett and the Global Enterprise.

                                             COUNT 6
                                        RICO CONSPIRACY
                                        18 U.S.C. § 1962(D)
                                       (AGAINST SINOSTAR)

       445.    Plaintiffs incorporate the above allegations by reference as if fully rewritten here.

       446.    This claim alleges a violation of Title 18, United States Code Section 1962(d),

which makes it “unlawful for any person to conspire to violate any of the provisions of subsection

(a), (b), or (c) of [18 U.S.C. § 1962].”

       447.    Sinostar conspired with Tubeileh (Count I) to violate 18 U.S.C. § 1962(a) and (c),

as described herein.

       448.    Sinostar has participated as a co-conspirator with Tubeileh in the above-listed

offenses (see supra ¶¶ 405a–l, 405r–x), and has performed those acts in furtherance of the

conspiracy.




                                                92
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                   Page 93 of 101 PageID 93



       449.    Sinostar and Tubeileh agreed, whether expressly or tacitly, that some person would

commit at least two of the predicate acts set forth above in the course of participating in the affairs

or operations of the Global Enterprise, in violation of 18 U.S.C. § 1962(c).

       450.    Sinostar and Tubeileh agreed, whether expressly or tacitly, that some person would

commit at least two of the predicate acts set forth above in the course of using the proceeds of the

conduct alleged above to use the profits of the Sham Advisory Fee Scheme and the Self-Dealing

Loan Scheme, in violation of 18 U.S.C. § 1962(a).

       451.    Sinostar was aware of the essential scope and nature of and intended to participate

in the Sham Advisory Fee Scheme and the Self-Dealing Loan Scheme to corruptly operate the

Global Enterprise to the benefit of Tubeileh and to use the proceeds of the conduct alleged to

further invest in the Sham Advisory Fee Scheme and the Self-Dealing Loan Scheme.

       452.    There was no plausible lawful rationale for the manner in which Sinostar and its

co-conspirators participated in the affairs of the Sham Advisory Fee Scheme and the Self-Dealing

Loan Scheme or used the proceeds of the conduct alleged above to invest in the Sham Advisory

Fee Scheme and the Self-Dealing Loan Scheme.

       453.    As discussed above, Plaintiffs have been injured in their business and property as a

direct and proximate result of the unlawful agreement between Sinostar and the Global Enterprise.

                                             COUNT 7
                                        RICO CONSPIRACY
                                        18 U.S.C. § 1962(D)
                                      (AGAINST JAMALABOX)

       454.    Plaintiffs incorporate the above allegations by reference as if fully rewritten here.

       455.    This claim alleges a violation of Title 18, United States Code Section 1962(d),

which makes it “unlawful for any person to conspire to violate any of the provisions of subsection

(a), (b), or (c) of [18 U.S.C. § 1962].”

                                                  93
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 94 of 101 PageID 94



       456.    Jamalabox conspired with Tubeileh (Count I) to violate 18 U.S.C. § 1962(a) and

(c), as described herein.

       457.    Jamalabox has participated as a co-conspirator with Tubeileh in the above-listed

offenses (see supra ¶¶ 405a–l, 405r–x) and has performed those acts in furtherance of the

conspiracy.

       458.    Jamalabox and Tubeileh agreed, whether expressly or tacitly, that some person

would commit at least two of the predicate acts set forth above in the course of participating in the

affairs or operations of the Global Enterprise, in violation of 18 U.S.C. § 1962(c).

       459.    Jamalabox and Tubeileh agreed, whether expressly or tacitly, that some person

would commit at least two of the predicate acts set forth above in the course of using the proceeds

of the conduct alleged above to use the profits of the Sham Advisory Fee Scheme and the Self-

Dealing Loan Scheme, in violation of 18 U.S.C. § 1962(a).

       460.    Jamalabox was aware of the essential scope and nature of and intended to

participate in the Sham Advisory Fee Scheme and the Self-Dealing Loan Scheme to corruptly

operate the Global Enterprise to the benefit of Tubeileh and to use the proceeds of the conduct

alleged to further invest in the Sham Advisory Fee Scheme and the Self-Dealing Loan Scheme.

       461.    There was no plausible lawful rationale for the manner in which Jamalabox and its

co-conspirators participated in the affairs of the Sham Advisory Fee Scheme and the Self-Dealing

Loan Scheme or used the proceeds of the conduct alleged above to invest in the Sham Advisory

Fee Scheme and the Self-Dealing Loan Scheme.

       462.    As discussed above, Plaintiffs have been injured in their business and property as a

direct and proximate result of the unlawful agreement between Jamalabox and the Global

Enterprise.



                                                 94
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 95 of 101 PageID 95



                                      COUNT 8
                                 RICO CONSPIRACY
                                 18 U.S.C. § 1962(D)
               (AGAINST CA PORTFOLIO MANAGEMENT AND CA FUNDS GROUP)

       463.    Plaintiffs incorporate the above allegations by reference as if fully rewritten here.

       464.    This claim alleges a violation of Title 18, United States Code Section 1962(d),

which makes it “unlawful for any person to conspire to violate any of the provisions of subsection

(a), (b), or (c) of [18 U.S.C. § 1962].”

       465.    CA Portfolio Management and CA Funds Group conspired with Tubeileh (Count I)

or Tubeileh, Barnett, Jamalabox, and Sinostar (Count II) to violate 18 U.S.C. § 1962(a) and (c), as

described herein.

       466.    CA Portfolio Management and CA Funds Group have participated as co-

conspirators with Tubeileh in the above-listed offenses (see supra ¶¶ 405m–q) and have performed

those acts in furtherance of the conspiracy.

       467.    CA Portfolio Management, CA Funds Group, and Tubeileh (Count I) or Tubeileh,

Barnett, Jamalabox, and Sinostar (Count II) agreed, whether expressly or tacitly, that some person

would commit at least two of the predicate acts set forth above in the course of participating in the

affairs or operations of the Global Enterprise or the AIF Enterprise, in violation of 18 U.S.C.

§ 1962(c).

       468.    CA Portfolio Management, CA Funds Group, and Tubeileh (Count I) or Tubeileh,

Barnett, Jamalabox, and Sinostar (Count II) agreed, whether expressly or tacitly, that some person

would commit at least two of the predicate acts set forth above in the course of using the proceeds

of the conduct alleged above to use the profits of the Sham Advisory Fee Scheme, in violation of

18 U.S.C. § 1962(a).




                                                 95
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 96 of 101 PageID 96



       469.    CA Portfolio Management and CA Funds Group were aware of the essential scope

and nature of and intended to participate in the Sham Advisory Fee Scheme to corruptly operate

the Global Enterprise to the benefit of Tubeileh, Sinostar, Jamalabox, or Huddleston and to use the

proceeds of the conduct alleged to further invest in the Sham Advisory Fee Scheme.

       470.    There was no plausible lawful rationale for the manner in which CA Portfolio

Management, CA Funds Group, and their co-conspirators participated in the affairs of the Sham

Advisory Fee Scheme or used the proceeds of the conduct alleged above to invest in the Sham

Advisory Fee Scheme.

       471.    As discussed above, Plaintiffs have been injured in their business and property as a

direct and proximate result of the unlawful agreement between CA Portfolio Management, CA

Funds Group, and the Global Enterprise or the or the AIF Enterprise.

                                       COUNT 9
                               BREACH OF FIDUCIARY DUTY
                    (AGAINST BLACKHORN USA AND BLACKHORN GROUP)

       472.    Plaintiffs incorporate the above allegations by reference as if fully rewritten here.

       473.    Blackhorn USA and Blackhorn Group (together here, “Blackhorn”) served and

continues to serve as the operator of oil and gas wells in which the Global U.S. Subsidiaries owned

(and still own) a working interest.

       474.    With respect to such wells, Blackhorn and the Global U.S. Subsidiaries were

engaged in a joint venture relationship.

       475.    As a participant in the joint venture with the Global U.S. Subsidiaries, Blackhorn

owed Global Oklahoma and Global Texas fiduciary duties as a matter of law.

       476.    Blackhorn breached its fiduciary duties to the Global U.S. Subsidiaries.

       477.    Blackhorn’s breach of its fiduciary duties resulted in substantial damages to the

Global U.S. Subsidiaries.
                                                96
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                   Page 97 of 101 PageID 97



        478.    Plaintiffs are therefore entitled to recover damages from Blackhorn, in an amount

to be proven at trial.

                                  COUNT 10
                                    FRAUD
    (AGAINST JAMALABOX, HUDDLESTON, BDHL, LOUISIANA OFFSHORE, CA PORTFOLIO
                         MANAGEMENT, CA FUNDS GROUP)

        479.    Plaintiffs incorporate the above allegations reference as if fully rewritten here.

        480.    For purposes of Count 10, Defendants include Jamalabox, Huddleston and his alter-

ego companies BDHL and Louisiana Offshore, CA Portfolio Management, and CA Funds Group.

        481.    Each Defendant made independent and material representations to, or omitted

material information from, the Global U.S. Subsidiaries related to various transactions involving

Defendants and the Global U.S. Subsidiaries:

                    a. Jamalabox: see ¶¶ 61, 63, 69–71, 77–79, 91–93, 95–100, 104–06, 109, 113–

                         14, 119–20, 123–24, 129–30, 132–35, and 160;

                    b. Huddleston/BDHL/Louisiana Offshore: see ¶¶ 80–82, 87–90, 183, 229–48,

                         and 310–26;

                    c. CA Portfolio Management or CA Funds Group: see ¶¶ 72–73, 91–103,

                         107–08, 115–16, and 125–28.

        482.    At the time these Defendants made these statements or omissions, each knew the

statement was false or it was made with such recklessness that the speaker should have known it

was false.

        483.    Each statement was made with the intent to induce the Global U.S. Subsidiaries

into relying on said statement, the Global U.S. Subsidiaries so relied, and were injured as a

proximate result of the misstatements or omissions.




                                                  97
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 98 of 101 PageID 98



       484.    Plaintiffs are therefore entitled to recover damages from these Defendants in

amounts to be proven at trial.

                                        COUNT 11
                               AIDING AND ABETTING FRAUD
                     (AGAINST CHRIS CHRISTENSON AND JOHN BARNETT)

       485.    Plaintiffs incorporate the above allegations by reference as if fully rewritten here.

       486.    Defendants Jamalabox, Huddleston and his alter-ego companies BDHL and

Louisiana Offshore, CA Portfolio Management, and CA Funds Group (for Count 11, the “Primary

Defendants”) committed fraud.

       487.    Defendants John Barnett and Chris Christenson (for Count 11, the “Secondary

Defendants”) had knowledge that the Primary Defendants’ conduct constituted a tort.

       488.    The Secondary Defendants intended to assist the various other Primary Defendants

in the commission of the fraud discussed above in Count 10.

       489.    The Secondary Defendants did give the Primary Defendants assistance or

encouragement in committing the fraud discussed above in Count 10.

       490.    The Secondary Defendants conduct, assistance, and encouragement was a

substantial factor in causing the fraud discussed above in Count 10.

       491.    The Secondary Defendants have therefore aided and abetted the fraud discussed in

Count 10 and are jointly and severally liable for the same, in an amount to be proven at trial.

                                          COUNT 12
                                      UNJUST ENRICHMENT

       492.    Plaintiffs incorporate the above allegations by reference as if fully rewritten here.

       493.    For purposes of Count 12, Defendants include Jamalabox, Barnett, Mader,

Huddleston, BDHL, Louisiana Offshore, CA Portfolio Management, CA Funds Group, and Chris

Christenson.

                                                98
  Case 4:24-cv-00667-O Document 1 Filed 07/17/24                  Page 99 of 101 PageID 99



       494.    As a result of Defendants’ conduct, the Global U.S. Subsidiaries conferred benefits

on all Defendants, who knowingly received and retained these benefits.

       495.    Defendants wrongly secured these benefits at the expense of the Global U.S.

Subsidiaries through various iterations of fraud, deception, duress, and/or undue advantage over

the Global U.S. Subsidiaries, as discussed above.

       496.    Under the circumstances, Defendants’ retention of these benefits would be unjust,

inequitable, and unconscionable.

       497.    Defendants’ conduct and actions set forth above constitute unjust enrichment under

the common law of Texas.

       498.    Plaintiffs are entitled to damages as a result, in an amount to be proven at trial.

                                           COUNT 13
                                   TEXAS THEFT LIABILITY ACT

       499.    Plaintiffs incorporate the above allegations by reference as if fully rewritten here.

       500.    For Count 13, Defendants include Tubeileh, Huddleston, Jamalabox, Sinostar,

BDHL, Louisiana Offshore, CA Portfolio Management, and CA Funds Group.

       501.    Plaintiffs had a possessory right to the monies and property that were wrongfully

taken from Plaintiffs by Defendants. See, e.g., supra, ¶ 54–148, 228–248, 269–326.

       502.    Defendants’ unlawful appropriation of such funds and property, without Plaintiffs’

knowledge or consent, constitutes theft within the meaning of Section 134.002 of the Texas Civil

Practice and Remedies Code and Section 31.03 of the Texas Penal Code.

       503.    Defendants’ theft was made with the intent to deprive Plaintiffs of their funds and

property and use it for Defendants’ personal gain.

       504.    As a result of Defendants’ wrongful acts, Plaintiffs suffered damages and are

entitled to recover actual damages resulting from Defendants’ theft, as well as statutory damages

                                                 99
 Case 4:24-cv-00667-O Document 1 Filed 07/17/24                   Page 100 of 101 PageID 100



to the full extent provided by Section 134.005(a)(1) of the Texas Civil Practice and Remedies

Code.

        505.   Plaintiffs are also entitled to reasonable attorneys’ fees and court costs under

Section 134.005(b) of the Texas Civil Practice and Remedies Code.

                                     PRAYER FOR RELIEF

        Accordingly, Plaintiffs pray for the following remedies:

        a.     Monetary damages, according to proof, including compensatory damages, lost

               interest, lost profits, and incidental and consequential damages, jointly and

               severally from each defendant as permitted by law;

        b.     Treble damages as applicable under 18 U.S.C. § 1964(c);

        c.     Punitive damages to the extent allowed by law;

        d.     Pre-judgment and post-judgment interest;

        e.     Attorney’s fees and costs of suit under 18 U.S.C. § 1964(c), or as otherwise

               permitted by law; and

        f.     Any other legal or equitable remedy the Court deems just and appropriate.

                                         JURY DEMAND

        Plaintiffs demand a trial by jury on all issues so triable. See Fed. R. Civ. P. 38(b).




                                                 100
Case 4:24-cv-00667-O Document 1 Filed 07/17/24     Page 101 of 101 PageID 101



                                  Respectfully submitted,

                                  s/ Richard B. Roper
                                  HOLLAND & KNIGHT
                                  Richard B. Roper (TX Bar # 17233700)
                                  Meghan McCaig (TX Bar # 24070083)
                                  One Arts Plaza
                                  1722 Routh Street, Suite 1500
                                  Dallas, TX 75201
                                  Telephone: 214.964.9500
                                  Facsimile:    214.964.9501
                                  Email:        richard.roper@hklaw.com
                                  Email:        meghan.mccaig@hklaw.com

                                  and

                                  TUCKER ELLIS LLP
                                  Marc R. Greenberg (pro hac vice forthcoming)
                                  515 South Flower Street
                                  Forty-Second Floor
                                  Los Angeles, CA 90071
                                  Telephone:    213.430.3400
                                  Facsimile:    213.430.3409
                                  Email:        marc.greenberg@tuckerellis.com


                                  Attorneys for Plaintiffs Global Oil & Gas Texas,
                                  LLC and Global Oil & Gas Fields, Oklahoma LLC




                                   101
